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                      UNITED STATES DISTRICT COURT

              FOR THE NORTHERN DISTRICT OF CALIFORNIA

                             OAKLAND DIVISION




EPIC GAMES, INC.,                    )   Case No. 4:20-cv-05640-YGR-TSH
                                     )
       Plaintiff, Counter-defendant, )   WRITTEN DIRECT TESTIMONY
                                     )   OF DR. DAVID S. EVANS
              v.                     )
                                     )   The Honorable Yvonne Gonzalez Rogers
APPLE INC.,                          )
                                     )   Trial: May 3, 2021
        Defendant, Counterclaimant. )
                                     )   Ex. Expert 1




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I.     QUALIFICATIONS

       1.     My name is David S. Evans. I am the Chairman of Global Economics Group
and the Co-Executive Director of the Jevons Institute for Competition Law and Economics at
University College London (UCL) where I have been a Visiting Professor since 2004. I have
B.A., M.A., and Ph.D. degrees in economics from the University of Chicago.

       2.       I specialize in the field of industrial organization economics. I have authored, or
co-authored, six books and more than 100 widely cited articles. A substantial portion of my
research, writing, and teaching over the last 20 years has concerned platforms and the digital
economy. A number of my publications concern antitrust economics, including specifically
market definition and two-sided platforms. Several of my publications were cited by the
Supreme Court in Ohio v. American Express, 138 S. Ct. 2274 (2018).

        3.     Over the last 30 years, I have taught classes on antitrust economics and related
topics at the University of Chicago Law School, University College London Faculty of Laws,
and Fordham University Law School. I teach graduate courses on antitrust economics of the
digital economy and on multi-sided platforms.

       4.      I have testified before various legislative bodies, federal courts, state courts, and
administrative law courts in the U.S. and before the European General Court and the Supreme
People’s Court of China.

II.    ASSIGNMENT & SUMMARY OF OPINIONS

        5.     I have been asked to address two primary topics: (1) defining the relevant
markets for assessing Apple’s conduct and Apple’s market power in those markets, and
(2) assessing whether the restrictions harm competition in those markets.

        6.     My opinions are the result of empirical studies and qualitative research and are
informed by the application of economic principles to the conduct at issue. In forming my
opinions I reviewed depositions, documents and data sets produced by Apple, Epic, and third
parties; economic and industry literature; and publicly available documents such as industry
data and financial filings. These are materials that economists typically rely on to assess
antitrust markets, market power and anticompetitive effects.

       7.      My opinions are summarized below and divided into four main categories:

               i.      The digital economy and app ecosystem:

                       (A)     The digital economy is vast, growing, and heavily reliant on
                               smartphones and apps. Two main developers of smartphone
                               operating systems (“OSs”), Apple and Google act as gatekeepers.
                               (Pages 7-8, 78-79.)

                       (B)     OSs and app distribution are distinct products with separate
                               demand. Absent restrictions, they are typically offered by

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                         different businesses. (Pages 4-5.)

                  (C)    OSs, including smartphone OSs, are two-sided platforms with
                         significant indirect network effects between users and developers.
                         (Pages 6-7.)

                  (D)    Online marketplaces, including app stores, are also two-sided
                         platforms with significant indirect network effects between users
                         (consumers) and developers (merchants). They compete with
                         single-sided businesses, including direct distribution. (Pages 6-7.)

           ii.    The relevant market for smartphone OSs and Apple’s market power:

                  (A)    The market for smartphone OSs is a relevant two-sided antitrust
                         foremarket. The smartphone OS market has been a duopoly
                         consisting of iOS and Android for at least a decade. This market
                         is global, excluding China. (Pages 11-19.)

                  (B)    Apple has substantial market power over users and developers in
                         the smartphone OS market. Apple faces competition from one
                         differentiated rival, Android, and minimal switching by
                         consumers due to high switching costs. (Pages 19-24.)

           iii.   The relevant market for iOS app distribution, Apple’s monopoly power,
                  and the anticompetitive effects of Apple’s conduct:

                  (A)    The distribution of iOS apps is a relevant two-sided antitrust
                         aftermarket. The iOS app distribution market is global, excluding
                         China. (Pages 24-35.)

                  (B)    Prices in the iOS app distribution aftermarket are not constrained
                         by competition between iOS and Android in the smartphone OS
                         foremarket, which is limited for the reasons stated above.
                         (Pages 30-31.)

                  (C)    As a result of contractual and technical restrictions Apple has
                         imposed, Apple’s App Store has monopoly power in the iOS app
                         distribution market. Apple has a nearly 100% market share in this
                         market, and it has enjoyed stable pricing and high and persistent
                         profit margins, contrary to Apple’s representation to developers
                         that it does not intend to profit from the App Store. Its position is
                         protected by barriers to entry. (Pages 35-39.)

                  (D)    But for Apple’s restrictions, there would have been substantial
                         competition in iOS app distribution, consistent with competition
                         in app distribution on macOS, Windows, and Android in China.


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                        (Pages 40-44.)

                 (E)    Insulated from competition, Apple has invested little in app store
                        innovation and has provided limited services to developers, yet
                        has kept its prices high. (Pages 44-55.)

                 (F)    Apple’s conduct in the iOS app distribution market has harmed
                        both iOS app developers and iOS users. Specifically, Apple’s
                        conduct results in higher prices for developers and users,
                        diminished output, suppressed innovation, and foreclosure of
                        nascent and actual competitors. (Pages 40-57.)

           iv.   The relevant market for iOS in-app payment processing solutions,
                 Apple’s monopoly power, and the anticompetitive effects caused by
                 Apple’s conduct:

                 (A)    The online payment processing industry provides specialized and
                        innovative solutions for taking payments online for app. Given
                        choice, app developers often devise their own payment solutions
                        in concert with third-party payment processors. (Page 58.)

                 (B)    Apple’s IAP is neither a necessary nor an integrated feature of
                        the App Store. (Pages 58-61.)

                 (C)    There is separate demand for app distribution and for payment
                        solutions for in-app transactions. (Pages 61-65.)

                 (D)    There is a relevant antitrust market for solutions for accepting
                        and processing payments for digital content purchased within an
                        iOS app. It is a single-sided market, and its geographic scope is
                        global excluding China. (Pages 65-69.)

                 (E)    Apple has monopoly power in the iOS in-app payment
                        processing solution market because the developers subject to its
                        IAP requirement have no other payment solution option and no
                        other app distribution option. Apple therefore can and has raised
                        the fees paid by these developers. (Page 69.)

                 (F)    The App Store’s payment processing restrictions have harmed
                        competition, raised prices, reduced output, and suppressed
                        innovation for payment solutions for digital content apps in the
                        relevant antitrust market. (Pages 69-76.)

                 (G)    Apple has tied its payment solution to the App Store, and this tie
                        has foreclosed substantial commerce in the iOS in-app payment
                        processing solutions market. (Pages 76-77.)


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                       (H)    Apple’s requirement that digital content developers process in-
                              app payments through Apple’s payment solution is not an
                              economically innocuous metering device or method for collecting
                              monopoly profits. (Page 77.)

III.     GENERAL ECONOMIC BACKGROUND

        8.    In this section, I discuss relevant background on OSs and app distribution,
generally and with respect to smartphones. I also discuss two-sided transaction platforms and
the dynamics of competition on such platforms. I conclude with a discussion of the app-based
digital economy.

         A.    OSs, App Distribution, and In-App Purchases

               1.      OSs

        9.     All computing devices, such as personal computers, smartphones, and game
consoles, run an OS. The OS manages a device’s memory and other hardware and software
resources, and provides services—through application programming interfaces (“APIs”)—for
other software applications (“apps”). OSs therefore enable third-party businesses—
developers—to write apps that run on the computing device. Users can install and use those
apps on a device running a compatible OS. Typically, apps are OS-specific: apps written for
one OS, such as Windows, do not work on a different OS, such as macOS.

        10.     “General purpose OSs”, which support many different types of apps, emerged
around 1980. Over the last 40 years, general purpose OSs have followed a “user pays” business
model. The suppliers of all major OSs, including smartphone OSs, provide developers with
tools for writing apps at zero or nominal cost. OS suppliers typically profit either directly from
OS users—by selling devices that include the OS—or indirectly, by licensing the OS to OEMs
that then sell devices to users. Most major OS suppliers that follow the indirect model charged
licensing fees to the OEMs; Google provides free licenses for its Android smartphone OS, and
then monetizes the OS by selling ads.

               2.      App Distribution

       11.    Users value an OS more when they can find more relevant apps for that OS.
Developers value an OS more when it allows them to reach more consumers. To drive growth
an OS supplier therefore must ensure that users can install applications and that developers can
make their applications available for users to install. I refer to this as “app distribution”.

        12.      Across many general purpose OSs over forty years, developers have had diverse
choices for app distribution. One distribution channel is for developers to get OEMs to
preinstall their apps on the computing devices they make. Another is for developers to maintain
websites from which users can download and install apps onto their computing device using a
browser. Another channel is through an app store, which is itself an app on the computing
device that enables users to browse, search for, download and install apps. Some OSs offer a


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pre-installed app store that is bundled with the OS, and most also support third-party app stores
that are not affiliated with the OS supplier.

        13.     App distribution is separate from the OS itself. OS suppliers provide developer
tools that allow developers to write apps that users can run on their specific OS—apps such as
Quicken for Windows, Photoshop for the MacOS, or Uber for Android. Then, by contrast, app
distribution helps developers provide their apps to users of a compatible OS. Intuit, for
example, can make TurboTax available to macOS and Windows users for direct download
from its website, through online app stores such as Softonics, and through physical retailers
such as Staples.

        14.    App distribution benefits OS suppliers because it encourages users and
developers to transact more, thereby encouraging developers to write more apps and consumers
to continue using the OS. This case involves a situation in which the OS provider, Apple, has
made itself the only distribution path for apps on its OS.

               3.      In-App Purchases

        15.    Once an app has been installed on a computing device, the developer and the
user can interact directly, by entering into transactions like ordering groceries, renewing a
subscription, paying for a ride, or buying artifacts in a game. These transactions are called “in-
app purchases”. Developers often have payment solutions, including ones they build
themselves, that enable them to accept and process payments for these transactions. App stores
also offer payment solutions for in-app purchases. This case involves a situation in which the
owner of the sole distribution path on an OS, Apple, requires developers to use Apple’s own
payment solution for all in-app purchases for digital goods.

               4.      Game Consoles

        16.     Game consoles, such as Sony’s PlayStation, are specialized computing devices
for playing games. Since their beginnings in the 1980s, game consoles have adopted a radically
different business model from general purpose OSs. Game consoles have a “developer pays”
model, in contrast to the “user pays” model of general purpose OSs. In the “user pays” model,
OS suppliers subsidize developer tools to encourage the writing of apps, thereby attracting
users and maximizing profitable sales of devices or licenses of the OS to OEMs. In the
“developer pays” model, by contrast, game console suppliers subsidize the price of the console
to maximize console adoption by users, thereby attracting developers, who typically need to
make enormous investments in developing games. The platforms then earn a profit from
charging game developers for access to the console platform user base, through royalties paid
on the sale of games and in-game content. Console games were initially sold as physical media
(such as cartridges or CDs) using traditional retailers. Digital stores operated by the console
platforms have come to play an increasingly significant role in the sale of games.




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               5.      Competition Among OSs

        17.     Although all OSs support some third-party apps, not all OSs impose competitive
constraints on each other. Different OSs run on different devices, which often are not close
substitutes for each other. In fact, users often have several computing devices, which they use
for different purposes and in different situations. Developers write apps for different devices to
meet the separate consumer demand from each. Below, I consider whether smartphones,
personal computers, and game consoles—and their respective OSs—sufficiently substitute for
one another to comprise a single relevant market. I conclude that they do not, and that
smartphone OSs constitute a separate relevant antitrust market.

        18.      Likewise, the fact that users and developers can obtain and deliver apps through
different distribution channels does not mean all such channels impose competitive constraints
on one another and belong in the same market. If consumers use a single OS—either generally
or in specific circumstances, such as outside the house—then developers cannot reach them
unless they are distributing apps for that OS. Similarly, users cannot get apps that are not
available for the OS they want to use. Below, I consider whether smartphone users and
developers can rely on other channels of distribution outside of smartphones, and I show that
they generally cannot, mainly because apps for devices other than smartphones are not good
substitutes for smartphone apps.

       B.      Two-Sided Platforms

        19.     Two-sided platforms enable members of two distinct groups to interact with
each other, often by entering into exchanges of value. They have “positive indirect network
effects”, which means that participants on one side of the platform value having more
participants on the other side, with whom they can have a mutually beneficial interaction. For
example, a ride-sharing application is more valuable to riders when there are more drivers, and
more valuable to drivers when there are more riders. When these network effects are
significant, the platform owner needs to account for them in its business decisions. Some
platforms, for example, adopt pricing models in which they charge one group of participants a
low, or even zero price, to attract them to the platform, and charge a positive price to the other
group of participants, who want to interact with members of the first group. For example, a
restaurant reservation platform typically lets diners make reservations for free, while charging
the restaurants.

        20.     Many two-sided platforms serve as a common intermediary that facilitates a
beneficial interaction. Restaurant reservations, ride sharing, credit card payments, and dating
platforms are familiar examples. Some economists refer to these as “transaction platforms.”
But, as the examples above make clear, the two parties do not necessarily engage in a monetary
transaction with each other; rather, the platforms match the two parties in an interaction of
some sort. That matchmaking by transaction platforms implies significant positive indirect
network effects; the larger the number of participants on each side, the more good “matches”
can be created.




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         21.      In some cases, such as credit card networks, transaction platforms only compete
with other transaction platforms because a platform is the only (or by far the best) way of
providing the service to the two groups of participants. In other cases, such as online
marketplaces, transaction platforms compete with single-sided businesses. Economists
recognize that this hybrid competition occurs commonly in the retail industry, where two-sided
online marketplaces, traditional retailers, and direct manufacturer-to-consumer sales commonly
co-exist and compete with each other. A consumer can buy Nike running shoes, for example,
from the Amazon Marketplace, a two-sided business, or directly from Nike.com, a single-sided
one. The competition between two-sided platforms and single-sided businesses demonstrates
that in retail, indirect network effects are not decisive in creating value for consumers or
suppliers. It also illustrates that two-sided platforms, including transaction platforms, cover a
diverse range of businesses, which operate under different circumstances. Sound economic
analysis must consider the particular circumstances of the platforms at issue.

        22.        General purpose OSs are two-sided transaction platforms. They provide a
platform on which app users and app developers engage in beneficial interactions, and there are
significant positive indirect network effects between users and developers. General purpose
OSs can only compete with other OSs because app users and developers must have an OS on
which to interact. Given these considerations, the relevant antitrust market for a matter
involving OSs should consist of a two-sided market encompassing both users and developers. I
understand that is generally the approach taken by the Supreme Court in Ohio v. American
Express (“Amex”), and I consider it to be correct as an economic matter.

       23.     App distribution is different. Like the retail industry generally, app distribution
involves a hybrid model in which two-sided app stores, traditional retailers, and direct-to-
consumer distribution can all coexist. This hybrid case is more nuanced than one in which the
only competitors are two-sided platforms.

        24.    Consequently, as described further below, I consider a two-sided platform
market for app distribution that also includes single-sided businesses. In the alternative, I
consider separate but related single-sided markets involving developers and users. As long as
the two-sided features are properly accounted for, economic analysis based on single-sided
markets for each side will reach the same economic findings as a two-sided market for both
sides. As explained below, I reach the same conclusions in this matter regardless of whether
app distribution is analyzed as a two-sided market or as two related single-sided markets.

       C.      Smartphones, Apps, and Distribution

        25.    Smartphone OSs are installed, of course, on smartphones. As with other general
purpose OSs, suppliers of smartphone OSs typically provide developers with tools to write
applications for the OS, and the OSs provide APIs that apps can use to take advantage of the
hardware on which the OS is installed. Users can run applications written for the OS on their
device. Smartphone OSs have adopted the same pricing model as other general purpose OSs;
developers pay at most nominal fees for access to developer tools and the OS provider earns
revenue directly or indirectly from users—in Apple’s case, primarily from the sale of hardware.


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       26.      There are two main smartphone OSs: Apple’s iOS and Google’s Android. In the
absence of restrictions, smartphone apps could be distributed on these OSs in all the same ways
available for other general purpose OSs: through third-party or OS-provided app stores, directly
from the developer’s website, or through pre-installation on the device. This case, however,
involves restrictions on distribution. Specifically, Apple has blocked distribution through any
channel other than its App Store.

       D.      The App-Based Digital Economy

        27.     Before smartphones became widely used about a decade ago, consumers who
participated in the digital economy did so by sitting at a personal computer with a broadband
connection. Businesses provided products and services to consumers by creating websites that
consumers could navigate to with their browser, or by selling applications that consumers could
load and use on their computers.

        28.     The modern smartphone, with its app-based ecosystem, and the spread of fast
cellular broadband around the world, changed that. Most people carry a computer in their
pocket, and have broadband Internet connection they can use anywhere, anytime through
cellular networks or local Wi-Fi networks. Developers found that native apps—apps written
specifically for the smartphone OS—made the best use of the OS and underlying hardware,
offering more convenience and better performance than anything they could offer users over a
web browser.

       29.     The scope of today’s app-based digital economy is vast and is growing rapidly,
accounting for an increasing portion of the digital economy, which is itself growing quickly. It
covers many existing industries, is quickly reaching into additional industries, and is creating
new ones.

        30.    People use smartphone apps for a diverse set of personal and work activities. To
take a few examples, people use smartphone apps to manage their bank accounts and pay bills,
hail rides, communicate with their friends, stream music, find a date, transfer money, order
food, and play games. Some use these apps for making a living. Many gig workers, for
example, depend on apps for receiving and managing assignments such as ride-sharing, grocery
delivery, and meal delivery. Doctors and patients use them for virtual visits.

       31.    Table 1 reports key statistics on the app-based digital economy for the U.S.
Other developed countries are broadly similar, and developing countries are catching up.




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              Table 1: Key Statistics on the App-Based Digital Economy for the U.S.1




IV.      MARKET DEFINITION PRINCIPLES

         A.       General Principles

        32.    Market definition involves identifying the set of suppliers, and their products,
that could provide significant competitive constraints on the conduct at issue. Those suppliers
and products identify the area of competition between firms that ultimately determines
competitive outcomes—price, output, quality, and innovation. This approach allows
economists to assess whether the firm engaging in the conduct at issue has market power that
could be used to distort competitive outcomes.

       33.      Market definition begins with the defendant’s challenged conduct and the
products or services to which this conduct applies. When done correctly, the economic analysis
of market definition yields the same findings regardless of the identity of the complaining
party—whether it is a competition authority, a class, or an individual plaintiff. (Economic
analysis of plaintiffs may inform other issues, such as whether the plaintiff has itself suffered
anticompetitive injury).

       34.      The economic approach to market definition investigates the extent to which
consumers would substitute products to meet their demand. Two products are substitutes if an
increase in the price of one product increases the demand for the other product.2 Substitution is

1
  Nielsen (2019) “The Nielsen Total Audience Report Q1 2019” at p. 20; Nielsen (2019) “The
Nielsen Total Audience Report September 2019” at p. 13; Nielsen (2020) “The Nielsen Total
Audience Report February 2020” at p. 23; Nielsen (2020) “The Nielsen Total Audience Report
April 2020” at p. 12; Statista citing the U.S. Census Bureau, “Percentage of households in the
United States with a computer at home from 1984 to 2016,”
https://www.statista.com/statistics/214641/household-adoption-rate-of-computer-in-the-us-
since-1997; PX2725.9; PX2725.7.
2
 The same concept applies to any other dimension that affects the value of the product to
consumers, such as quality.

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a matter of degree and, for market definition, economists examine whether two products are
sufficiently good substitutes that an attempt by one supplier to increase price will result in a
significant diversion of demand to other suppliers. Economists use the concept of cross-
elasticity of demand to measure the degree of substitution. Poor substitutes have low cross-
elasticities of demand.

        35.     The hypothetical monopolist test (HMT), which is usually operationalized by
use of a SSNIP (small but significant non-transitory increase in price) test, helps inform the
market definition inquiry. It asks whether a hypothetical monopolist of a set of products could
profitably increase prices above a competitive level by a SSNIP. If a SSNIP would cause
enough demand to get diverted to products outside the set of products the hypothetical
monopolist controls, such that the price increase would not be profitable, then these other
products are substitutes that constrain the market power of the hypothetical monopolist and
therefore should be included in the market. By contrast, if the hypothetical monopolist can
profitably impose a SSNIP above the competitive level, then products outside the set of
products controlled by the hypothetical monopolist are not sufficient substitutes and are
appropriately excluded from the market. In practice, economists use quantitative and qualitative
evidence to assess demand substitution and market boundaries; the HMT can sometimes be
conducted qualitatively by asking whether a SSNIP is likely to be profitable given the evidence
presented.

        36.     These same basic principles apply to two-sided platforms, where the issue is
whether a hypothetical monopolist could profitably raise prices to participants on one or both
sides because participants would not divert demand to other platforms or single-sided
businesses. Although special issues arise, economists use the same mix of quantitative and
qualitative evidence to assess the economics of substitution and market boundaries for two-
sided platforms.

       B.      Apple’s Conduct Related to App Distribution

        37.     As noted above, market definition begins with the conduct at issue. Here, Apple
has imposed both contractual and technical restrictions that together make the App Store the
sole distribution channel for iOS apps.

        38.    Like other OS providers, Apple has provided developers with tools and
permissions for developing apps for nominal fees. But Apple, as OS supplier, conditions the
use of those tools on contractual provisions that have the effect of blocking app developers
from distributing any iOS apps in any way other than through the App Store. Therefore,
competing store developers are foreclosed from offering stores for iOS apps, and app
developers are foreclosed from using other stores. Apple also technically prevents users from
downloading and installing apps directly from developer websites.

        39.     These restrictions apply to all apps. Therefore, the competitive constraints on
Apple’s iOS and its App Store would result from the ability of developers and users, overall, to
divert their demand to other OSs and distribution platforms. Looking only at one category of
demand, such as for games, would not accurately capture the nature of the competition that

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these platforms face. It is true that Apple’s iOS and App Store customers and developers are
heterogeneous, meaning that they may have different substitution possibilities depending on
their circumstances. But this is no different from any other business, including other two-sided
platforms such as credit card networks.

         C.     The Foremarket and Aftermarket Framework

        40.     A “foremarket” is a market in which there is competition for a long-lasting
product, such as razors, from which demand for a second product, such as disposable razor
blades, is derived. An “aftermarket” is the market for the second product, which is a
complement of the first. The foremarket and aftermarket framework provides a sound
economic method to analyze the competitive constraints for Apple’s conduct involving app
distribution.

        41.    In the foremarket, consumers choose an OS and buy a smartphone that has that
OS installed. The initial choice is between OSs, rather than among devices, because iOS and
Android have differentiated accompanying ecosystems, and the ecosystem determines a great
deal of the consumer’s experience with the smartphone; consumers first and foremost choose
the ecosystem experience they want. Developers then have to write apps for that smartphone
OS to reach users of that OS. As I show below, consumers typically pick the same OS when
they replace their smartphones.

        42.    The chosen OS enables consumers to use apps, and developers to create apps. In
the aftermarket for app distribution, consumers with smartphones need ways to get apps, and
developers that have created apps need ways to get their apps to consumers.

V.       THERE IS A RELEVANT ANTITRUST FOREMARKET FOR SMARTPHONE
         OSS AND APPLE HAS SUBSTANTIAL MARKET POWER IN THAT
         MARKET

       43.    In this section, I define a relevant antitrust foremarket for smartphone OSs and
analyze Apple’s market power therein.3 OSs, including smartphone OSs, are two-sided

3
  Apple also bundles a version of iOS with its iPad tablet. My analysis is of smartphone OSs
because tablets provide users with different functionality than smartphones—they are generally
less mobile than smartphones as a result of being larger and typically lack cellular connectivity.
To simplify the exposition, I do not define a relevant foremarket for iOS-based tablets. iPads
are, however, relevant in two ways for assessing Apple’s market power in the foremarket and
aftermarket. First, apps for the iPad and iPhone are both written for versions of iOS (with the
iPad version recently renamed as iPadOS) and are developed using the same tools, so Apple’s
iPad user base strengthens Apple’s market power over developers. Second, iPhone users often
have iPads, which increases their costs of switching from iPhones to Android smartphones.


        PX1055 (summarizing PX2489). The vast majority of its iOS devices, however, are


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transaction platforms. The relevant antitrust foremarket is therefore appropriately analyzed as a
two-sided platform market in which smartphone OS platforms compete with each other and, at
least potentially, other OS platforms.

        44.     Smartphone OSs, rather than devices themselves, are the relevant foremarket
because they are the locus of relevant developer and consumer demand. Developers decide
whether or not to write apps for a particular smartphone OS and then get permissions and tools
to create those apps, which work on all smartphones with that OS. Consumers make purchasing
decisions for smartphones based in material part on the OS for that smartphone and its related
ecosystem.

        45.    Smartphone OSs are bundled with a smartphone because neither works without
the other. Analyzing competition for smartphone OSs therefore necessarily requires also
considering consumer decisions to buy smartphones, as discussed next.

       A.      Economics of the Smartphone Business

        46.     A smartphone consists of hardware, which includes a computing device, and an
OS. A smartphone OS does not work without the computing device, and a smartphone does not
work without an OS. Much of the value of smartphones derives from the ability of developers
to create apps and of people to use them.

        47.    Since the launch of smartphones in the mid-2000s, some smartphone OS
suppliers have sold smartphones that include their OS (e.g., Blackberry, Palm, Apple) and
others have licensed smartphone OSs to OEMs (e.g., Microsoft, Symbian, Google). Today,
there are two main app smartphone OS ecosystems: iOS and Android.

       48.     Four main economic features of smartphones, and their OSs, are particularly
important for understanding decisions by app users and developers.

            i. Smartphones differ from other computing devices because they provide Internet
               connectivity anywhere via fast cellular connections and Wi-Fi; they are small,
               lightweight and highly portable; and they include unique and easy-to-use
               features such as cameras and GPS. These features enable smartphones, and their
               OSs, to provide users and developers with services that other computing
               devices, and their OSs, cannot provide.

            ii. Consumers typically use only one smartphone OS and its app ecosystem at a
                time, and often have one smartphone with that OS. Using the terminology of


iPhones, with iPads accounting for only       of its iOS-device sales in Apple’s 2019 fiscal
year. PX2668.19.




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                 two-sided platform economics, consumers typically “single home” on a
                 smartphone OS.

              iii. To use a different smartphone OS than the one on their device, consumers have
                   to buy a new smartphone, and thereby switch to a separate app ecosystem. But
                   users have sunk cost investments in their current smartphone and the ecosystem
                   they are using. They would incur a variety of costs if they were to switch to
                   another smartphone OS. That results in a stable installed base of users on each
                   smartphone OS.

              iv. Because users typically “single home” on a smartphone OS, and do not quickly
                  and easily switch, developers typically write apps for all smartphone OSs that
                  have enough users. If a developer did not write apps for a particular smartphone
                  OS, it would not be able to provide smartphone apps to that OS’s users,
                  relinquishing a substantial share of the addressable audience for its app. To
                  avoid this, developers typically “multi-home” on smartphone OSs. Today, that
                  means that most significant developers provide apps for both Android and iOS.

I now examine the options that consumers and developers have, respectively, for smartphone
OSs, and the implications for the degree of substitution between smartphone OSs and other
options.

         B.      Demand Substitution for Smartphone OSs for Consumers

        49.     Consumers lack good substitutes—in the economic sense, meaning they would
not turn to those alternatives in the face of a price increase—for smartphone OSs. I discuss
below the limited extent of (1) substitution between smartphones and other computing devices,
and (2) substitution of app usage on a smartphone OS with app usage on other OSs.

                 1.      Substitution between Smartphones and Other Computing Devices

         50.    As compared to smartphones, other computing devices do not allow consumers
to access the Internet anywhere and anytime, are far less portable, and lack key features like an
easy-to-use camera and GPS. Generally, an increase in the price of smartphones would not
result in consumers materially switching to personal computers or game consoles because they
would not be able to do the same things with these devices.

       51.     Device ownership data confirm that these other devices are not good substitutes
for consumers:

              i. In the U.S., at least 89% of households have personal computers and 88% of
                 internet-using adults had smartphones, which shows they are not substitutes.4 If

4
 PX1070 (summarizing PX2747); Statista citing the U.S. Census Bureau, “Percentage of
households in the United States with a computer at home from 1984 to 2016,”


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               personal computers and smartphones were substitutes, consumers would only
               need one or the other and not both. That the vast majority of adults have chosen
               to get smartphones even though they already have a personal computer, or
               access to one, indicates that they are not substitutes.

            ii. Most game console owners own smartphones, which shows that they are not
                substitutes.

                     .5 If a smartphone were a substitute for a game console, the consumer
               wouldn’t also need to get a console.

        52.     Consumer purchasing decisions are therefore consistent with people considering
personal computers and game consoles as devices they would purchase in addition to, but not
instead of, a smartphone. Purchasing these other devices is therefore not a substitute for
purchasing smartphones.

               2.      Substitution between Smartphone OSs for Using Apps, Other OSs,
                       and Web Browsers

        53.     Consumers cannot easily turn to using apps on non-smartphone OS as a
substitute for using apps on a smartphone OS for three broad sets of reasons:

            i. Many popular apps that are available on both smartphones and personal
               computer OSs provide significantly greater benefits to consumers when used on
               a device that consumers have with them all the time, can access the Internet
               anywhere, and has features such as GPS and a camera. Examples include Uber,
               Tinder, Snapchat, Google Maps, and Chase Bank.

            ii. Consumers lack substitutes for using their smartphone OS during times when
                they do not have convenient access to personal computers and game consoles.
                These includes times away from home as well as situations at home when it is
                not convenient to go to another room or another family member is using a
                shared personal computer or game console.

            iii. Many apps that are available on mobile phones are not available on game
                 consoles and, in some cases, personal computers.
                                                                             6




https://www.statista.com/statistics/214641/household-adoption-rate-of-computer-in-the-us-
since-1997.
5

6
    PX1069 (summarizing DX4883).

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       54.     Consumer behavior is consistent with app usage on a non-smartphone OS being
a weak substitute for app usage on a smartphone OS.

             i. A substantial majority of users rely on smartphones for many of their online
                activities. Between 76% and 88% of Internet users in 2019 accessed apps in six
                app categories only through their mobile devices.7

     Table 2: Proportion of Worldwide Internet Users Who Access App Categories Using
                                   Mobile Devices Only




             ii. In 2018, 94% of Facebook’s monthly active users used the mobile app and, in
                 January 2021, only 1.7% of Facebook’s monthly active users only used the web
                 app on personal computers.8

             iii. Online time spent by U.S. users between 2013 and 2016 increased by 54%, with
                  97% of the increase accounted for by time using mobile devices, and only 3%
                  accounted for by time using personal computers.9 Smartphone apps accounted
                  for 80% of the growth.10

             iv. Over 70% of time watching YouTube came from mobile devices in 2019.11




7
    PX1076 (summarizing PX2725).
8
  Statista, “Device usage of Facebook users worldwide as of January 2021,”
https://www.statista.com/statistics/377808/distribution-of-facebook-users-by-device/; Buffer
Social, “2018 Social Media Trends Report,” Jan 25, 2018, https://medium.com/social-media-
tips/2018-social-media-trends-report-28bf5243b6b9.
9
  PX2767.5.
10
     PX2767.7.
11
     YouTube, “YouTube for Press,” https://www.youtube.com/intl/en-GB/about/press/.

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            v. Personal computers accounted for only 23% of the time Americans spent online
               in 2019, compared with essentially 100% before the use of smartphones.12

        55.    Consumers cannot easily turn to “web apps” as a substitute for native apps on a
smartphone OS. Smartphones have web browsers, which people can use to access websites just
as they can on their personal computers, but apps accessed through the browser have inferior
functionality and performance. Web apps also often lack features provided by native apps
because they cannot access functionality on the smartphone that native apps can. On iOS
devices, for example, web apps cannot access Bluetooth, Touch ID, Face ID, ARKit, Contacts,
and push notifications.

        56.     Consumer behavior is consistent with the conclusion that web apps are poor
substitutes for native apps. A 2019 report of 10 countries, for example, found that native apps
accounted for between 86% and 96% of the time mobile users spent online with only 4-14%
coming from using a mobile browser.13 See Figure 1.

     Figure 1: Proportion of Mobile Internet Time Spent on Apps vs. Web Browsers, June
                                             2019




12
     PX1075 (summarizing PX2725).
13
     PX1074 (summarizing PX2725).

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        57.     The evidence on consumer behavior is consistent with consumers perceiving
both personal computer OSs and websites accessed from a mobile browser as imperfect
substitutes for smartphone OSs that allow them to use native apps.

       C.      Demand Substitution for Smartphone OSs for Developers

       58.    Developers cannot meaningfully substitute apps for smartphone OSs with apps
for OSs on other computing devices or on websites.

        59.    Developers create apps to meet or generate consumer demand. They must follow
the customer: the only way to meet the demand by customers who use a particular OS is to
have an app that runs on the OS that those customers use. This is similar to a national
manufacturer’s decision to sell in different parts of the country. If it wants to meet the demand
of consumers in Oregon it needs to sell its product there. Some consumers might drive to
California to get the product if it were sold there, but most would not.

        60.      This holds true even if the users in question do use other devices at some point
in time or for some purposes. The analysis of consumer behavior described above shows that
many developers have to follow the customer to their smartphone OSs for each of the following
reasons:

            i. There are portions of the day during which consumers only have access to their
               smartphones to use apps over the Internet or would find it inconvenient to use an
               app that worked on another device they have at home.

            ii. Smartphones have unique features—mobility, constant Internet connection,
                camera, GPS, accelerometers—that developers can use to provide smartphone
                apps that are superior to apps they can create for OSs on other devices.

            iii. Developers cannot create web apps accessible through the mobile browser that
                 are good substitutes to native apps.

       61.     Evidence on developer behavior likewise shows that apps on personal computers
or websites are not substitutes for smartphone apps for meeting consumer demand:

            i. The growth of the smartphone app economy depended on smartphones as
               distinguished from other computing devices—it was driven by a virtuous circle
               between cellular carriers, handset makers, OS providers, cellular technology
               firms, and app developers.

            ii. Existing developers that operated successful websites on personal computers,
                which were accessible through mobile browsers, also developed smartphone
                apps, while continuing to maintain their websites. E.g., Facebook, Match,
                Twitter, LinkedIn, YouTube, The Wall Street Journal, Spotify, and Hulu.




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            iii. New developers created successful smartphone app businesses by using unique
                 features of smartphones. E.g., Uber, Instagram, Snapchat, Pokémon Go, TikTok,
                 Tinder, Waze, and WhatsApp.

       D.      Relevant Antitrust Product Foremarket

        62.     The relevant antitrust foremarket is a two-sided transaction platform market for
users and developers. The market definition analysis is focused on whether smartphone OSs
compete with OSs for personal computers, game consoles, or other devices. They do not, and to
see why not, it is useful to describe the circumstances under which they could.

        63.    Hypothetically, suppose that all consumers had personal computers, game
consoles, and smartphones and could use all of these devices throughout the day. Consumers
could then substitute among devices quickly and easily to the extent these devices had similar
features and apps that therefore performed similar services. Under this hypothetical scenario, a
developer could decide to offer apps for only a single OS on a single device—a PlayStation, for
example—because it could count on consumers having all of those devices and finding the app
on the PlayStation to be a good substitute for an app for their smartphone. In this hypothetical
world, these other devices with their respective OSs could be competitive constraints on
smartphone OSs and might be considered part of the same relevant antitrust market.

        64.     However, that is not the actual world, and none of those conditions is true.
Consumers do not own all these devices in addition to smartphones; virtually all console
owners have smartphones, but only a fraction of smartphone owners have consoles. Moreover,
even if all or most consumers did have all these devices, they would not have access to them
throughout the day. Consumers choose to single-home on their smartphone for many situations
and during many parts of the day. Developers cannot meet their demand by creating an app for
an OS on another device, or a website, because the consumers will not show up. In addition,
many developers cannot meet the demand by creating an app for an OS on another device
because their apps rely on functionality that is unique to smartphones, and the same apps on
other devices would not be good substitutes for such apps.

        65.    As a result, smartphone OSs do not face significant competitive constraints from
OSs for other devices. Consumers do not find these OSs to be reasonable substitutes for their
smartphone OS for many apps they use. And developers therefore do not find these OSs
significant substitutes for meeting consumer demand.

       66.      The HMT provides a way to evaluate the qualitative and quantitative evidence
of substitution presented above. Applied to this situation, the HMT for a two-sided platform
market asks whether a hypothetical monopolist of a particular set of OSs would be constrained
by OSs outside of the hypothetical market from imposing a SSNIP on the total price to users
and developers of using smartphone OSs within the market.

        67.    There is a challenge in applying the SSNIP test here. The incumbent OS
providers—Apple and Google—do not charge explicit prices for their OSs. Apple bundles iOS
with its iPhones, and Google licenses Android for free and monetizes it through advertising.


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That challenge, however, is not insurmountable. It is common practice for economists to
determine implicit prices when explicit ones are not available. It is possible to estimate the
implicit competitive price for the OS based on license fees—about $30—that Microsoft
charged for Windows Phone before it exited. The fees developers pay are small, and they are
fixed costs that cover all users, and can therefore be ignored in calculating the total price to app
users and developers. It is appropriate to base the SSNIP on the price of the OS rather than the
device, because the OS, not the device, is the platform that connects app developers and users
and is at the core of the conduct at issue in this case concerns restrictions on app distribution.

       68.      A 10% SSNIP would result in a $3 increase in the total implicit price. It is not
plausible that this increase in price would result in consumers and developers switching to other
OSs or to websites given the limitations on substitutability discussed above. The same
conclusion would hold for higher implicit prices for the OS and for SSNIPs larger than 10%.

       69.    I therefore conclude, based on the qualitative and quantitative evidence
described above, that the relevant antitrust foremarket consists of the OSs that are installed on
smartphones.

       E.      The Relevant Antitrust Geographic Foremarket

       70.     The relevant geographic market is global except China. Smartphone OSs are
provided globally on smartphones that are sold globally. Apps usually work on smartphone
OSs regardless of geography, although sometimes developers customize their apps based on
language or other considerations. Therefore, the marginal cost of providing apps in a particular
geography is low. Consumers can use smartphone apps from developers located globally.

        71.    China is an exception. China has erected barriers that limit the ability of users in
China to use various non-Chinese apps, limit the ability of OEMs to choose the Google version
of the Android OS, and limit developers outside of China from providing apps to Chinese
users. Smartphones with the version of Android used in China are generally not sold outside of
China, and smartphones that have the Google version of Android are generally not sold in
China. That has resulted in a separate smartphone app ecosystem in China. Many of the most
popular non-Chinese apps are not available in China, and the most popular Chinese apps have
generally not been successful outside of China.

       72.     I understand that Apple’s experts claim that the relevant geographic market
should be restricted to U.S. consumers. I disagree, but based on my research, I find that all of
my conclusions regarding market power and anticompetitive effects would hold under this
narrower geographic market.

       F.        Apple’s Market Power in the Smartphone OS Foremarket

        73.    In the preceding Sections V.A-V.E, I defined the boundaries of the smartphone
OS product and geographic foremarket. In this Section, I discuss whether Apple has market
power in this market. I conclude that Apple has substantial market power because the market is
a long-standing duopoly consisting of differentiated products, and Apple’s share of usage and


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revenue in this market is significant. High switching costs for consumers between iOS and
Android enhance Apple’s market power. Given these switching costs and the lack of technical
compatibility of Android apps with iOS, developers cannot substitute Android apps for iOS
apps. Finally, there are significant barriers to entry into smartphone OSs.

               1.      Structure of Smartphone OS Foremarket

        74.    The smartphone OS foremarket has been a duopoly for the last decade. Of
smartphones sold outside of China, smartphones running iOS or Android have accounted for
more than       of smartphone revenue each year since 2012, more than      since 2016, and
                  14
       since 2017. Between 2008 and 2016, the sales of existing smartphone OS providers
other than iOS and Android declined sharply and most left the business.

               2.      iOS and Android Are Differentiated

        75.     Apple and Google have created highly differentiated ecosystems around their
respective operating systems, which limits the competition between them. Almost all Android
phones sold outside of China are highly integrated into Google’s app ecosystem. They have a
Google search bar front and center on the home screen and come bundled with Google apps,
usually installed on the home screen, including Gmail, Chrome, Google Drive, Google Maps,
and YouTube.

        76.   iPhones are designed around Apple’s suite of apps and services, including
iMessage (used in the Messages app), iCloud (used in Photos, Files, Mail, Contacts and other
apps), FaceTime, Apple Maps, and the Safari browser.

        77.     Android and iOS are also differentiated based on the available hardware, the
user interface, and how the operating system is controlled. As discussed below, if a user
switches from using an iPhone to an Android smartphone (or vice versa), she must replace
many of the accessories she uses and learn how to interact with her smartphone using the
different operating system.

        78.     The fact that iOS and Android devices, and their respective operating systems,
are highly differentiated products that appeal to well-defined user groups necessarily limits the
degree of substitution between them and increases the market power of each.

               3.      Apple’s Share of Smartphone OS Market

         79.    One measure of share is time spent using a particular smartphone OS. Based on
quantitative evidence, as well as statements by Apple, analysts, and individual developers over
the last 10 years, I have found that iOS app users account for around 50% of the time
smartphone app users spend online and that iOS users have accounted for a disproportionate
share of app usage.


14
     PX1059 (summarizing PX2489).

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               i. From June 2009 to May 2010, iOS had an average 47% share of ad traffic on
                  smartphones,15 even though its share of smartphone units sold globally,
                  excluding China, that cost $300 or more during 2009 and 2010 ranged from
                       16


               ii. In April 2010, former Apple CEO Mr. Steve Jobs noted “iPhone has 64% U.S.
                   mobile browser usage share.”17

               iii. In October 2013, Apple announced in an earnings call that iPhone users spent an
                    average of 53% more time per day on their devices than Android users.18

               iv. Of the new players who created a Fortnite account on mobile between April 21,
                   2020 (when Fortnite became available on the Google Play Store) and August 12,
                   2020 (the last full day before Fortnite was removed from the iOS App Store)
                   more than 61% created their account on iOS.19

       80.     Another measure of share is the amount of spending on apps. Between 2015 and
2019, iOS accounted for         of spending globally (excluding China) and         of
                    20
spending in the U.S. The global share of iOS was higher in earlier years.

        81.    Apple’s share of time usage and revenue is much higher than its share of
smartphone sales. That is because Apple specializes in selling premium smartphones that
appeal to consumers who are more likely to use and spend on smartphone apps. Between 2015
and 2019, Apple accounted for           of revenues from smartphones priced $300 or more
globally excluding China and          in the U.S.21

        82.     The fact that Apple has a substantial market share in a duopoly market, with
differentiated products, implies that it has substantial market power.




15
  PX2628.6; PX2629.6; PX2630.8; PX2631.8; PX2632.10; PX2633.7; PX2757.13; PX2758.8;
PX2759.6; PX2765.13; Admob, “AdMob Mobile Metrics Report,” September 2009, p. 7;
Admob, “AdMob Mobile Metrics Report,” October 2009, p. 7.
16
     PX1061 (summarizing PX2489).
17
     PX2001.3.
18
     PX-2771.
19
     PX2490.
 PX1057 (summarizing App Annie (2016) “App Annie 2016 Retrospective,” at p. 10; App
20

Annie (2015) “App Annie Index: 2014 Retrospective,” at Figure 2; App Annie (2014) “App
Annie Index: 2013 Retrospective,” at Figure 2; DX5408; PX2296; PX2217; PX2218).
21
     PX1061 (summarizing PX2489).

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                 4.    Sunk Costs of Smartphone OSs and Switching Costs for Consumers

       83.     Substantial switching costs between iOS and Android smartphones enhance
Apple’s market power. iOS and Android users make sunk cost investments in hardware,
software, and learning for their respective ecosystems. A decision to switch OSs is a decision to
move ecosystems, meaning consumers would lose the value of these investments and have to
make new ones. These costs reduce consumers’ incentive to switch.

        84.     Consider an iPhone user who relies on iMessage. If he switches to an Android
phone, he would not only lose access to all prior iMessage communications, but would also
lose the ability going forward to communicate using iMessage with other iPhone users going
forward, including family and friends. Apple is aware of the lock-in effect this creates for iOS
users. In April 2013, Apple executives discussed whether to make iMessage available on
Android devices. Craig Federighi, the Apple executive in charge of iOS engineering, said:

         I am concerned the [sic] iMessage on Android would simply serve to remove and [sic]
         obstacle to iPhone families giving their kids Android phones.22

       85.     In March 2016, Apple Fellow Mr. Philip Schiller forwarded an email chain to
Apple CEO Mr. Tim Cook that recounted the difficulties a former senior Apple employee had
when he tried for two months to use an Android smartphone in place of the iPhone he had been
using:

         And the #1 most difficult to leave the Apple universe app is iMessage. Moving
         to Android my family was forced to move to Facebook to message me, I used
         WeChat, WhatsApp and Slack for work, but I missed a ton of messages from
         friends and family who all use iMessage and kept messaging me at my old
         address. iMessage amounts to serious lock-in.23 (emphasis added)

         86.    Apple Senior Vice President, Worldwide Marketing, Mr. Greg Joswiak noted
that “we hear this a lot”, and Mr. Schiller noted, in forwarding the email chain to Mr. Cook,
that “Joz and I think moving iMessage to Android will hurt us more than help us, this email
illustrates why”.24

       87.   A 2021 New York Times column, which provided advice to readers considering
what smartphone OS system to use, summarized the costs of switching.25

         When buying a phone, we generally recommend sticking with the same platform
         your current phone uses. At a minimum, switching entails learning the quirks of

22
     PX2093.1.
23
     PX416.3.
24
     PX416.1.
25
     PX2648.

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smartphone OSs since Android in 2008. All the incumbent smartphone OS providers in the late
2000s exited.

        91.     I therefore conclude that Apple has had substantial market power in the
smartphone OS foremarket since 2010, which is a differentiated product duopoly market with
substantial switching costs between the two suppliers, and that its market power is protected by
barriers to entry.

VI.     THERE IS A RELEVANT ANTITRUST AFTERMARKET FOR IOS APP
        DISTRIBUTION, APPLE HAS MONOPOLY POWER IN THAT MARKET,
        AND APPLE’S RESTRICTIONS HAVE CAUSED ANTICOMPETITIVE
        EFFECTS IN THAT MARKET

        92.     In this section, I define a relevant antitrust aftermarket for iOS app distribution
and analyze Apple’s market power in that market. App distribution, in the absence of restraints,
is typically provided by a mixture of app stores (which are two-sided transaction platforms),
single-sided retailers, direct-to-user downloads, and pre-installation. As I noted above, I report
results based on a two-sided platform aftermarket that includes users and developers, as well as
separate but related single-sided markets for users and developers.

         93.    I further analyze the anticompetitive effects in this market caused by Apple’s
restrictions.

        A.      Background on Launch of iOS and App Store and Apple’s App
                Distribution Restrictions

       94.    As noted above, the market definition inquiry begins with the defendant’s
challenged conduct. I describe that conduct here starting with the origin of the App Store.

        95.     Apple released the iPhone on June 29, 2007. The first iPhone did not support
third-party apps. With its attractive handset design and operating system, however, the iPhone
attracted substantial consumer demand and developer interest in writing third-party apps.

       96.    On October 17, 2007, Apple announced that it would enable developers to write
apps and would provide them with a software development kit (“SDK”). On March 6, 2008,
Apple released an iOS SDK and APIs for core services to developers, making the relevant tools
and permissions available to developers for nominal cost.

        97.     During the March 6 presentation, Mr. Jobs, Apple’s CEO, also announced that
Apple would create the App Store. He indicated that the App Store would be the exclusive
distributor of iOS apps. He said that the App Store would charge a 30% commission on the sale
of paid apps “to pay for running the App Store”, while distribution of free apps would be free.
In response to concerns raised by reporters about the competitive implications of Apple’s
decision to prevent all commercial distribution through channels other than the App Store,
Mr. Jobs stated that “we don’t intend to make money off the App Store”; “we are basically



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giving all the money to developers here and if that 30% of it pays for running the store, well
that will be great”.28

        98.    The App Store was launched on July 10, 2008. The New York Times noted,
“Mr. Jobs contends that Apple does not plan to make much money on games and other
applications…”.29 A month later, The Wall Street Journal wrote, “Apple isn’t likely to derive
much in the way of direct profit from the business, Mr. Jobs acknowledged. It is keeping only
30% of the proceeds from application sales -- about enough to cover expenses from credit-card
transactions and other costs of running the online store -- while the programs’ creators keep
70%.”30

         99.    The business model that Apple announced to developers was generally
consistent with the standard “user-pays” OS model, which seeks not to profit from developer
commissions, but rather to encourage developers to create apps that drive user demand, and in
the case of Apple to drive the sale of iPhones. Mr. Jobs emphasized that “[t]he developer and
us have the same exact interest which is to get as many apps out in front of as many iPhone
users as possible.”31 Apple’s CFO, Mr. Oppenheimer, stated that the App Store was “a bit” or a
“little” over break even in January 2010 and February 2011.32

         100. Apple required that, as a condition of getting access to the tools and permissions
for writing iOS apps, developers use the App Store for “exclusive distribution” and “agree not
to distribute [their app] to third parties or to enable or permit others to do so.”33 It also barred
developers from offering any app that would provide a distribution channel for users and
developers and thereby prevented any other app store from being made available to iOS users.
These restrictions remain in place today.34

        101. As a result, users have to go through the App Store to get apps and developers
have no other path to make their apps available to users. By contrast, macOS users can
download and install apps from multiple channels and do not have to go through the Mac App
Store. I next define the relevant market for analyzing these restrictions.




28
     PX880.21; PX880.27.
29
     PX2733.
 Nick Wingfield, “IPhone Software Sales Take Off: Apple's Jobs,” The Wall Street Journal,
30

August 11, 2008, https://www.wsj.com/articles/SB121842341491928977.
31
     PX880.21.
32
     PX2761; PX2709.
33
     PX2123.5; PX2123.8.
34
     PX2558; PX2557.

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       B.      Economic Considerations in Defining Aftermarket for App Distribution

               1.      Economic Framework for Analyzing Exclusionary Conduct

        102. Apple’s app restrictions are a type of conduct that antitrust economists refer to
as exclusionary and that can result in the foreclosure of competitors from a market. In these
cases, antitrust economists assess the anticompetitive effects of the challenged conduct by
assessing the extent to which the conduct forecloses other suppliers from the market. Antitrust
economists then determine whether the amount of foreclosure causes significant harm to
competition and consumers in that market. The relevant antitrust market is important for this
assessment because it identifies the existence and degree of competitive constraints from other
suppliers that, if present, could limit the competitive effects of the exclusionary conduct.

        103. The relevant market for evaluating exclusionary conduct is the one that would
exist in the absence of that conduct. To assess that market, in some cases, antitrust economists
can look at current competitive conditions because the major effects of the exclusionary
conduct are prospective. In other cases, antitrust economists can look at historical evidence on
competitive conditions before the exclusionary conduct occurred.

        104. Apple’s app distribution restrictions were imposed at the same time developers
were given tools and permissions to write iOS apps, and therefore before iOS app distribution
was practically feasible.35 It is not possible to observe iOS app distribution in the absence of
these restrictions either currently or historically. Fortunately, through my research, I found and
collected substantial empirical evidence from adjacent markets where the exclusionary conduct
at issue is not present, and that evidence provides reliable indicators of how iOS app
distribution would look in the absence of Apple’s restrictions, as described below.

               2.      App Distribution in the Absence of Exclusionary Conduct

        105. The economic evidence shows that in the absence of Apple’s restrictions, the
relevant market for app distribution would include third-party app stores and direct distribution,
as well as the App Store.

         106. Microsoft and Apple have provided developers with tools and permissions to
write apps for Windows and macOS personal computers, respectively, but have not imposed
restrictions on the distribution of apps. Apps have accordingly been distributed directly by
developers (from the developer’s own website) and through third-party stores. Many years after
launching their respective OSs, Microsoft and Apple launched their own non-exclusive



35
  Even before the App Store launched, it was possible to install apps on iOS phones that had
been jailbroken. To jailbreak an iPhone, the user needs to bypass various restrictions on
installing apps that Apple has programmed into the iOS operating system. I am not expressing
any opinion on jailbreaking other than that it demonstrates that there was a demand by users,
developers, and app stores for alternatives to the monopoly App Store.

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stores—the Windows Store and the Mac App Store—which are pre-installed on Windows and
macOS computers.

        107. I have identified at least 10 third-party app stores that distributed Windows and
Mac applications in 2008 when the iOS App Store was launched. Direct distribution was also
widely used. Based on a survey of major Windows and Mac apps in 2020, I found that they all
distributed their software through multiple app stores and through direct downloads. A survey
found that 78% of macOS developers distributed their apps through channels other than the
Mac App Store.36
                          .37

        108. There is further evidence in the Android smartphone ecosystem in China, where
distribution of Android apps is less restricted than elsewhere. In 2020, there were at least 60
Android app stores in China, including some specialized ones. Large Internet-based firms, such
as Tencent and Qihoo 360, and smartphone makers, such as Huawei, operate the largest
Android app stores. Chinese Android developers also make extensive use of direct distribution
from their websites. Outside of China, multiple Android app stores have attempted to compete
with Google Play.

                  3.   Competitive Constraints from Distribution of Apps for Other OSs

        109. I do not consider app stores for other OSs to provide direct competitive
constraints on iOS app distribution. As a technical matter, app users and developers for one OS
cannot use an app distribution channel for another OS because apps are OS-specific. Windows
users, for example, could not use a channel that only distributed macOS apps, such as the Mac
App Store, because macOS apps do not work on Windows.

        110. Even in the absence of restrictions, iPhone users would not be able to use
Android app stores because Android apps would not work on an iPhone. Further, for the
reasons stated above regarding the limits on substitutability of smartphone OSs and OSs for
other computing devices, downloading and installing an app on a computing device other than
a smartphone is not typically an alternative to downloading and installing an app on a
smartphone—even if the smartphone app were available on the other device, which is often not
the case.

                  4.   The App Store as the Hypothetical Monopolist

        111. In the absence of Apple’s app distribution restrictions, there would be
competition in iOS app distribution. To analyze the relevant market, antitrust economists would
examine whether a hypothetical monopolist of iOS app distribution would face competitive
constraints that would prevent it from raising prices significantly. Given Apple’s app
distribution restrictions, the hypothetical and actual monopolist in this case is Apple, and the

36
     PX2746.
37
     PX2477.17.

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issue is whether there are competitive constraints that prevent Apple from exercising monopoly
power.

        112. In the next part of the analysis, I explain why I have concluded that a
hypothetical monopolist of all iOS app distribution would not face material competitive
constraints from other channels of distribution or from competition in the foremarket for
smartphone OSs. This analysis shows that the App Store has monopoly power in app
distribution. I then show that the App Store has earned extraordinary profits, consistent with its
having exercised that monopoly power.

       C.      Relevant Antitrust Aftermarket for App Distribution

               1.      Economic Effects of Eliminating Competition in Distribution

        113. To provide the economic intuition behind my analysis of smartphone app
distribution, where Apple has not permitted competition, consider Windows app distribution,
where Microsoft has allowed competition. Suppose Microsoft adopted a new policy that
required that developers distribute their apps only through the Windows Store and prevented
developers from distributing apps directly to users. This would eliminate the many alternatives
that Windows developers and users currently have for app distribution.

        114. Having eliminated all of these options, Windows would be able to raise the
price, or reduce the quality, of distribution services to developers—putting aside for now
possible competitive constraints arising from the foremarket. Developers would be unable to
tap the demand from the installed base of Windows without going through this monopoly
Windows distributor and therefore could not resist the price increase. Developers’ only
alternative would be to stop distributing Windows apps, which would be unprofitable because it
would mean losing access to the Windows installed base of users. Developers could not use the
extensive distribution options available for macOS apps because those channels could not
provide apps to Windows users. The installed base of Windows users, who have invested sunk
costs in Windows-compatible personal computers and the Windows ecosystem, would not have
alternatives either and would pay higher prices to the extent developers passed higher fees on to
them.

        115. Because of Apple’s restrictions, the same market dynamics would apply had
there been a competitive market for iOS app distribution. The qualitative and quantitative
evidence I discuss below shows that the elimination of that competition would enable the
hypothetical monopolist to increase the price or reduce the quality of distribution services
significantly. Developers would be unable to resist the price increase because the monopoly
app store would be the only way to meet the demand of the installed base of iPhone users, and
dropping iOS entirely would be unprofitable because developers would lose access to this large
installed base of users. Developers would be unable to use Android app stores because they
could not provide iOS apps to iPhone users. Users would not have any alternatives, due to the
sunk costs and switching costs noted above, and would pay higher prices to the extent
developers passed higher fees on to them.



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               2.      Lack of Competitive Constraints from the Smartphone OS
                       Foremarket

        116. In theory, competitive constraints could result from the linkage between the
foremarket and the aftermarket. To illustrate, suppose hypothetically that in the foremarket app
users could easily and costlessly switch OSs. If a Windows user, for example, was not satisfied
with app distribution for Windows, she could decide to switch to a Mac, which would enable
her to use the macOS distribution channels. Then a developer that had both Windows and
macOS apps could reach her through the macOS channels. This same situation could, in theory,
be true for smartphone OSs. If a user was not satisfied with iOS app distribution, he could
replace his iPhone with an Android phone and use Android distributors. Then a developer that
had both iOS and Android apps could reach him through an Android distributor.

        117. In analyzing market definition, I therefore consider the possibility that users
could substitute between iOS and Android app distribution channels by switching to a
smartphone with the other OS. As shown below, however, I find that such switching is too
limited to impose meaningful competitive constraints in the app distribution aftermarket. As
noted above, this quantification is crucial to the analysis; the question that is meaningful here is
not whether some consumers would substitute in the face of deteriorating conditions (some
marginal consumers almost invariably would), but rather whether enough consumers would
substitute to constrain the exercise of market power.

        118. As a matter of economic theory, significant competition in a foremarket could
discipline competition in an aftermarket so that consumers don’t face supracompetitive prices,
and any high prices in the aftermarket are offset by low prices in the foremarket. However, this
theory is based on assumptions that do not apply to the smartphone OS foremarket and the
aftermarket for app distribution:

           i. There is limited competition in the foremarket. The foremarket for smartphone
              OSs is a duopoly, with differentiated products, relatively stable market shares,
              and infrequent switching between firms. Economic models and empirical
              evidence relied on by modern industrial organization economists show that these
              features weaken competition.

           ii. Users have made substantial sunk cost investments in smartphone OS
               ecosystems, and would incur high switching costs should they decide to move to
               a different smartphone OS, which severely reduces the effect on the aftermarket
               of competition in the duopoly foremarket.

           iii. App distribution costs are low relative to the overall costs of smartphones,
                related hardware and apps. A 10% increase in App Store commissions, even if
                fully passed through to users, would result in only a 0.77% increase in their total
                cost of having an iPhone and using apps.38 Given sunk costs and switching costs
38
 This is based on a 10% increase in App Store commissions relative to the revenues that
Apple received from App Store commission and iOS device sales.

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               it is not plausible as a matter of economics that an increase of this magnitude
               would result in iPhone users switching to Android phones.

           iv. The lifecycle costs of apps are hard for consumers to calculate and compare
               across smartphone OSs. iPhone users cannot easily estimate the impact of app
               distribution costs on the relative lifecycle costs of using an iPhone versus an
               Android phone. Nor can they determine whether price increases for iOS apps
               result from decisions by developers, which would be the same regardless of the
               OS they use, or decisions by Apple that affect the aftermarket. This is
               particularly so given that consumers use a wide range of apps that may change
               over time, the fact that app distribution costs are low relative to the overall costs
               of smartphones, and the uncertainty about the extent to which developers pass
               on those costs.

               3.     Relevant Antitrust Aftermarket for App Distribution Is Either A
                      Single-Brand or Two-Brand Market

        119. The economic findings summarized above (and further discussed below)
demonstrate that there is a relevant aftermarket for iOS app distribution. iOS users and
developers cannot use Android app distributors. There is insufficient competition in the
foremarket between iOS and Android to discipline competition in the aftermarket. Apple has a
monopoly in this market in the same way Windows would today if it eliminated the extensive
competition in distribution for Windows. This is a single-brand market because distribution
alternatives for the second OS brand do not provide a significant competitive constraint in the
aftermarket or through the foremarket.

        120. Nevertheless, even if one considered a two-brand market for iOS and Android
app distribution, the economic findings above would demonstrate that the App Store has
substantial market power in this two-brand market for the same reasons it has monopoly power
in the single-brand market. Android distributors would not impose a significant competitive
constraint on the App Store. Foremarket competition between iOS and Android would not
impose a significant competitive constraint either. As a result, my analysis of competitive
effects for Apple’s app-distribution restrictions would apply in an app distribution market for
either a single-brand market for iOS app distribution or a two-brand market for iOS and
Android app distribution.

       121. The relevant antitrust aftermarket for iOS app distribution is a two-sided
platform market for iOS app users and iOS app developers. In the competitive market that
would exist absent Apple’s app distribution restrictions, competition would take place between
app stores, which are two-sided online marketplaces. iOS app developers could also distribute
apps directly. I include this single-sided alternative for iOS app developers and users in this
two-sided market.

       122. Given that iOS app distribution would involve hybrid competition between two-
sided and single-sided firms, I have also considered single-sided markets. Based on the
considerations above, one can define a single-sided market for iOS app distribution for users

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and a single-sided market for iOS app distribution for developers and take into account the
relationship between them. For the reasons stated above, both users and developers would lack
significant substitutes. As a result, competition in the foremarket would not constrain prices in
either aftermarket.

        123. I provide further economic analysis and evidence in support of my conclusions
on the relevant antitrust aftermarket below. This includes two empirical analyses I conducted,
one based on Epic Fortnite user data and one based on a survey conducted in this matter by
Dr. Peter Rossi.

               4.      Empirical Study of Switching by iOS Fortnite App Users Following
                       Fortnite’s Removal from App Store

        124. Using Fortnite user data, I have conducted several empirical studies that confirm
key conclusions concerning foremarket and aftermarket competition in this matter. My analysis
is based on a large random, anonymized sample of Fortnite accounts. The U.S. and global
estimates are similar and, for convenience, I report the U.S. ones here.

       125. Because Fortnite has been available for smartphones, personal computers, and
game consoles, Fortnite provides evidence on the outer limits of substitution possibilities for
iOS app users and developers. Most other iOS apps are not available on as many devices;
indeed, many iOS apps are not suitable for use on any device other than a smartphone.

                       a.     Fortnite User Single-Homing

        126. Most Fortnite users play all or nearly all of their game minutes on a single
platform. Of accounts with positive all-time game minutes, 82.7% have played Fortnite on only
a single platform. The same pattern holds among players who use iOS as their primary
platform—90.9% of those players have only used iOS.39 This means there are basically two
types of players who used the iOS Fortnite app: those who predominantly used iOS, and those
who predominantly used game consoles and personal computers but occasionally used the iOS
app. Neither type of player engages in material substitution between playing Fortnite on their
iPhones and playing on another device.

                       b.     Consumer Substitution

        127. Apple removed the Fortnite iOS app from the App Store on August 13, 2020
and made it impossible for existing users to update their Fortnite app and therefore play the
new season of Fortnite, released two weeks later. This episode can be used as a natural
experiment to analyze whether removal, and degradation in quality, of the Fortnite iOS app
causes Fortnite iOS players to substitute to game consoles or personal computers at numbers
sufficient to constrain Apple’s market power. I compared the 10-week periods immediately
before and immediately after August 13, which I call the “pre-period” and the “post-period”.


39
     PX1054 (summarizing PX2873).

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       128. I used a standard econometric method known as differences-in-differences to
compare the behavior of Fortnite players who only used iOS before August 13 with a control
group of Fortnite players who used only game consoles or personal computers. The U.S.
players who played only on iOS in the 32 weeks ending August 12 accounted for 60.7% of all
U.S. minutes played on iOS devices over that time period. To ensure I had a proper control
group I used econometric methods to match each iOS app player with a console or personal
computer player who exhibited the most similar behavior over the same 32-week period.

        129. I observed that U.S. iOS-only players substituted 16.7% of the minutes they
would have played on iOS in the post-period to non-iOS devices.40 That estimate of switching
is an upper bound: even in the absence of the removal of Fortnite from iOS, over time some
iOS-only players, like consumers in general, decide to buy game consoles and personal
computers that can run Fortnite. When they do, their game play on consoles and personal
computers increases. More consumers have decided to get game consoles than normal during
the pandemic, which has been in effect during the time period relevant to the comparison.
Controlling for this cross-progression to personal computers and consoles, I found that U.S.
iOS-only players in the pre-period substituted only 3.1% of their Fortnite minutes to game
consoles and personal computers after they could not effectively use the iOS version of
Fortnite.41

       130. This result confirms that even when using an iOS app that is available across
platforms, most iOS users do not find that using the app on other devices is a good substitute.

                      c.      Developer Substitution

         131. I used the same econometric approach to examine whether Epic, as a developer
that has already invested in making its Fortnite app available across multiple devices and their
OSs, would find it profitable to drop its iOS app, in the face of a price increase. Epic could do
that if enough of its iOS app users switched to game consoles or personal computers, such that
it would recoup enough lost revenue from iOS on those other platforms. As discussed above,
very few users would switch their gameplay time to other platforms. Because developers likely
focus primarily on game spend rather than gameplay time, for this analysis, which focuses on
Epic, I focused on revenue.

        132. Analyzing the same Fortnite data described above, I found that U.S. iOS-only
app users shifted only 30.7% of the total spending they would have made on iOS in the post-
period to consoles and personal computers. Accounting for the cross-progression to game
consoles and personal computers, that number falls to 16.3%.42 To be conservative I calculated
an upper bound on the amount of iOS revenue that would move to other devices based on the
assumption that (i) 100.0% of the revenue generated on iOS from players who made purchases
on iOS and other devices in the pre-period (who accounted for 35.0% of U.S. iOS revenue over
40
     PX1080 (summarizing PX2873).
41
     PX1080 (summarizing PX2873).
42
     PX1079 (summarizing PX2873).

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that time period) would shift to consoles or personal computers; and (ii) 16.3% of the revenue
generated from U.S. players who made purchases only on iOS in the pre-period (who
accounted for 65.0% of U.S. iOS revenue over that time period) would shift in the post period
to other device. That gave me an upper bound of 45.6% of revenue that moved from the iOS
Fortnite app to non-iOS Fortnite apps.43

         133. Using data on Epic’s average profit margin I calculated the proportion of
spending that would have to move from the iOS Fortnite app to non-iOS Fortnite apps to make
it profitable for Epic to drop the Fortnite iOS app in response to a 10% increase in Apple’s App
Store commission. I found that Epic would not find it profitable to terminate its iOS app and
focus on other OSs unless 87.7% or more of its iOS revenues migrated to other platforms.
Because the upper bound of 45.6% is much lower than the critical level of 87.7%, I conclude it
would not be profitable for Epic to drop the iOS app in response to a SSNIP in iOS app
distribution. These results would be even more dramatic if I relaxed the conservative
assumptions made above or if I considered apps other than Fortnite, the vast majority of which
are not as readily available for use on both consoles and personal computers.

         134. This result confirms that even an iOS app developer that has already invested in
developing its app for non-smartphone OSs cannot sacrifice the profits it would lose if it were
to exit iOS and lose access to iPhone users. The result also confirms that the foremarket does
not include OSs for non-smartphone devices from the standpoint of developers.

         135.   I now turn to the results of my second empirical study.

                5.     Survey Evidence of Consumer Behavior in Response to App Store
                       Price Increase

       136. Another Epic expert, Dr. Peter Rossi, conducted a survey of consumers who had
iPhones and iPads and had purchased in-app content in the previous thirty days. The survey,
which was conducted in January 2021, resulted in 2,338 usable responses. After carefully
determining how much consumers had actually spent in the previous 30 days, the survey asked
consumers how they would respond if they would have to pay 5% more for the content they
had purchased in the preceding 30 days, and assuming that Google Play did not change its fees.
Although respondents were not told this, the 5% increase would correspond to the situation in
which the App Store increased the average commission rate to developers from 27.7% to
35.9% and those developers passed on 50% of their costs. The survey question therefore poses
a much larger increase in price than the standard 5%-10% used in SSNIP tests and therefore
would lead to much greater substitution than had a lower price increase been used.

       137. Dr. Rossi’s survey found that 74.0% of spending-weighted respondents would
not reduce their spending and that 98.6% of spending-weighted respondents would not respond
by switching to an Android device. It found 24.7% would have reduced their spending by a
weighted average of 38.9%. It found that the spending-weighted average elasticity of demand


43
     PX1079 (summarizing PX2873).

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for IAP spending with respect to the consumer price is -2.19, which reflects a relatively low
level of price responsiveness.44

        138. These results are consistent with the other evidence reported above that
foremarket competition between iOS and Android devices would not constrain a hypothetical
monopolist of iOS app distribution in the aftermarket because most users would not switch
from iOS to Android even if faced with a significant, permanent price increase in the price of
their apps.

               6.     The HMT Framework Also Confirms that iOS App Distribution Is a
                      Relevant Antitrust Aftermarket

        139. Using the results of the empirical studies above, I have used the hypothetical
monopolist test as a further check on my conclusion that the relevant antitrust aftermarket is
iOS app distribution. I follow a standard approach, based on the economic literature on two-
sided platforms, by considering SSNIPs on both sides separately and then considering the
overall effect.

         140. Consider the situation in which a hypothetical monopolist of iOS app
distribution imposed a SSNIP on developers. A few app developers—primarily console game
developers and video and music streaming services—are similar to Epic in that they also have
some apps that have versions that run on consoles, personal computers and smartphones. The
vast majority of game and non-game developers, however, do not create apps for consoles, and
many develop apps only for mobile OSs. Epic’s experience therefore provides a highly
conservative prediction of whether app developers have sufficient non-smartphone substitutes
to resist a price increase. As shown above, using a standard critical loss analysis based on
diversion to substitutes, I found that distribution on game consoles and personal computers was
not a substitute even for a multi-platform app such as Fortnite, because it could not profitably
resist a price increase by dropping its iOS app.

        141. For this analysis, consider a situation in which a hypothetical monopolist of iOS
app distribution imposed a SSNIP on consumers. Dr. Rossi’s survey shows what would happen
if the putative monopolist, the App Store, increased the prices App Store users paid for apps by
5%; as noted above that would follow from a SSNIP on commissions charged to developers of
more than 30%, when half of those fees are passed on App Store customers in the form of
higher prices. The low elasticity determined from the survey means that imposing this price
increase would be profitable for Apple, because the increased profits from higher commissions
to iOS app developers, which result in higher prices to iOS app users, would outweigh any loss
in profits from iOS app users switching to Android phones or reducing their App Store




44
     PX1078 (summarizing PX2545).

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purchases.45 I found that Apple could have increased its profits by         million by imposing
this price increase.

        142. In theory, the App Store, as the monopolist, should already be charging the
highest commission rate it can and should not be able to increase fees more. In practice, it is
likely that Apple has not increased its commission rate over the current 30% maximum given
the high level of regulatory, media, and developer scrutiny it has faced for several years.

        143. Given the monetization strategy adopted by Apple for the App Store, the
commission is a two-sided price for interactions between iOS app users and developers. The
extent to which these two groups bear that total price depends on how much developers pass on
to consumers the commission rates they pay to Apple. A hypothetical monopolist of iOS app
distribution could profitably increase this two-sided price by a SSNIP over competitive levels
because it would not lose much consumer demand, including from switching to Android
smartphones. It would likewise not lose developers, which would not be able to forgo access to
the installed base of iOS app users, which account for a large part of demand.

        144. These results confirm that there is a relevant two-sided aftermarket for iOS app
distribution and, in the alternative, two relevant separate but related one-sided aftermarkets for
iOS app distribution for iOS app developers and iOS app users.

               7.      Relevant Geographic Market for iOS App Distribution

        145. The relevant geographic market for analyzing the distribution of iOS apps is
global but I have excluded China to make the geographic market for the aftermarket conform
with the foremarket. (In the absence of Apple’s restrictions on the ability of third parties to
distribute iOS apps, competition among iOS app distributors in China may differ from
competition outside of China for related reasons to why smartphone OS competition is different
in China.) My conclusions would not change if China were included in the geographic market.
The standard concern with defining a geographic market that is too narrow is the exclusion of
competitors that are located outside the candidate geographic market that could provide
competitive constraints on firms inside the candidate geographic market. Because Apple is the
only distributor of iOS apps in all countries, there is no potential competition to the App Store
from firms inside China, any more than there is from firms outside China. For similar reasons,
if the geographic market were restricted to the U.S., as Apple’s experts have proposed, the App
Store would have market power in that narrower market as there is no potential competition to
the App Store from U.S. firms.

       D.      Apple’s Market Power in App Distribution

        146. In the preceding Sections VI.B-VI.C, I defined the boundaries of the iOS app
distribution product and geographic aftermarket. In this Section, I discuss whether Apple has
market power in this market. I conclude that Apple has monopoly power because it has a nearly

45
   I have confirmed this result using pass-through rates over the range of plausible pass-through
rates.

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100% market share in this market, it has enjoyed stable pricing and high and persistent profit
margins over time, and there are barriers to entry into the relevant market.

        147. Despite Apple’s claim that it would operate the App Store on a break-even basis,
it soon earned profit margins that are very high relative to reasonable competitive benchmarks.
It has been able to earn these high profits because it has had, and continues to have, monopoly
power over iOS app distribution. That power is not constrained by other iOS app distributors
because none exist—the App Store has effectively a 100% share in the iOS app distribution
market. And, as discussed above, it is not constrained by competition in the foremarket because
iOS app users have sunk costs, and switching and information costs, and developers have no
choice but to distribute iOS apps to reach the large, stable installed base of iPhone users.

        148. My first analysis of the App Store’s profits is based on App Store profit and loss
statements (“P&Ls”) available to me prior to the submission of my opening expert report and
Apple Rule 30(b)(6) testimony about those documents. The second analysis is based on Apple
profitability analyses that Apple first produced the day before my opening report was due, and
which I disclosed in a supplemental statement prior to my deposition. My analysis relies in part
on financial analysis conducted by Mr. Ned Barnes, an expert for Epic in this matter.

               1.     App Store P&Ls Based on App Store Presentations Made to Senior
                      Apple Executives

       149.    My discussion of App Store financials is based on Apple’s fiscal years.




        150. The App Store, like other online marketplaces, books revenue based on
commission fees rather than the sales to consumers. To compare the App Store’s margin with a
reasonable competitive benchmark, I asked Mr. Barnes to obtain profit data on stores that
operate online marketplaces for consumers and merchants. These businesses provided the best
available benchmark because they are online marketplaces like the App Store and calculate
profit margins on a comparable basis. He identified five large publicly traded stores that
operate primarily as online marketplaces for which there was sufficient public data to make
profit comparisons: Alibaba, eBay, MercadoLibre, Rakuten, and Etsy.

       151. Table 3 reports the profit margins for these online marketplaces for 2013-2019.
The median margin among these online marketplaces, calculated in the same way as the App
Store margin, was 21.4% during this time period. The App Store margin in 2019 was      times
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        154. I understand that Apple has argued that profit margin is not a meaningful metric
for assessing its market power because it considers the allocation of joint costs to the App Store
to be an arbitrary exercise.




        155. Apple’s financials also confirm that the App Store is a distinct entity within
Apple. It is not treated as an integrated part of the iPhone business. Rather, it is shown in the
financial documents on the same footing within the organization as the iPhone, Mac,
AppleCare and Apple Music.53

               3.      Apple’s Pricing

        156. The App Store has earned profits mainly by requiring that developers use IAP
for in-app purchases of digital content if they want to distribute their iOS apps through the App
Store. It charges a commission on those transactions. The App Store also distributes apps at no



51

52

53
     PX2392.2-PX2392.3; PX2385.8; PX2385.17-PX2385.18.

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       E.      Apple’s App Distribution Restrictions Have Caused Anticompetitive Effects
               in the iOS App Distribution Market

        160. To analyze the competitive effects of Apple’s app distribution restrictions in the
iOS app distribution market, I have compared the actual world with these restrictions to the but-
for world without them. For the but-for world, I have assumed that (i) Apple continues to install
the App Store on every iPhone and operates it as it does now; and (ii) Apple continues
requiring that certain apps use its IAP payment solution for in-app purchases as a condition of
obtaining app distribution services and continues earning revenue by charging commissions on
those purchases.

        161. However, in the but-for world I have assumed that other stores would have been
able to offer distribution of iOS apps and developers could distribute directly. So that I have a
common metric for comparing prices with and without the restrictions, I assume other app
stores also charge commissions. Of course, the particular details of how the App Store, and
other app stores, earn revenue, including from in-app purchases, could change with
competition.

         162. Based on my comparison to a but-for world where Apple’s restrictions do not
exist, I have concluded that:

            i. there would have been substantial entry by competing third-party app stores into
               iOS app distribution as well as direct distribution by developers;

            ii. competition would have resulted in substantially lower prices as measured by
                commissions, which would have benefited iOS app developers and users;

            iii. competition would have resulted in developers and users receiving more and
                 better iOS app distribution services and more innovation in those services; and

            iv. competition would have curtailed Apple’s ability and incentive to disadvantage
                third-party apps that compete with its first-party apps on the iPhone.

Apple’s app distribution restrictions therefore harmed competition in the iOS app distribution
market and caused iOS app users and developers—the two groups of customers that participate
in that market—to pay higher prices and to receive less output, lower quality, and less
innovation.56




56
  The economic evidence is also sufficient for me to conclude that Apple’s app distribution
restrictions harmed competition in the alternative related single-sided markets for iOS app
distribution for developers and users and in the alternative single- and two-sided markets for
app distribution that include Android.

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               1.     Foreclosure of Competition

        163. I have concluded that in the absence of Apple’s distribution restrictions, there
would have been substantial competition in the iOS app distribution market, including direct
distribution, based on eight empirical findings.

     164. The first finding is that competition is the norm in retail distribution, whereas
monopoly is not:

       i. App stores are a type of retail distributor that operate as online marketplaces. Retail
          distribution, whether operated on the basis of a two-sided or single-sided business
          model, and whether online or physical, tends to have competing stores. Scale
          economies and indirect network effects are not large enough to result in high
          concentration. In fact, sellers often engage in direct distribution that puts
          competitive pressure on retailers and demonstrates that scale and indirect network
          effects are not sufficiently large to be determinative of competitive outcomes.

        165. Empirical findings (ii)-(iii) show that entry would have occurred in the absence
of restraints because this has occurred for smartphone OSs that have not blocked app
distribution.

       ii. As of 2020, there were at least 60 Android app stores in China, where there are no
           material restrictions on entry. Table 5 lists stores that had more than 20 million
           monthly active users. Android smartphones in China typically have a pre-installed
           app store operated by the OEM and Chinese consumers can install other app stores.
           The large app stores distribute the full range of apps. Some small stores specialize in
           particular types of types of apps. Direct distribution of smartphone apps from
           developer websites is widely used by app developers and app users.




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                             Table 5: Top App Stores in China57




         iii. There were third-party app stores for the early smartphone OSs—Symbian,
              Blackberry, Windows Mobile, and Palm—that did not exclude third-party stores.
              GetJar, Mobango, and Handango offered apps for all four platforms;58 Handster
              provided apps for BlackBerry, Symbian and Windows Mobile;59 PocketGear




57
     PX1084 (summarizing PX2659; PX2660).
58
   MobiForge, “The open market approach: Q&A with GetJar, the No1 independent app store,”
August 1, 2020, https://mobiforge.com/news-comment/the-open-market-approach-q-a-with-
getjar-no1-independent-app-store; GetJar, “Search Software,” January 30, 2008,
https://web.archive.org/web/20080130014627/http:/www.getjar.com/software/; Mobango,
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https://web.archive.org/web/20080702172738/http://www.mobango.com/compatibility/;
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https://web.archive.org/web/20080122043252/http://www.handango.com/home.jsp?siteId=1.
59
   Handster, “Handster, as rendered on December 29, 2007,
https://web.archive.org/web/20071229215607/http://smartphone-software.handster.com/; PR
Newswire, “Handster Leads Android Independent Stores,” June 27, 2011,
https://www.prnewswire.com/news-releases/handster-leads-android-independent-stores-
124587493.html.

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             provided apps for Palm, Blackberry and Windows Mobile;60 and PalmGear offered
             apps specifically for Palm OS.61

         166. Empirical findings (iv)-(v) show that six large companies have actively sought
to distribute iOS apps, but Apple has blocked them from doing so.

         iv. In the last three years, Apple has blocked at least five developers—Amazon,
             Facebook, Microsoft, Google, and Nvidia—on the basis that they submitted apps
             that distributed third-party apps. Table 6 summarizes these “app stores”, Apple’s
             reason for blocking them, and how the developer had to modify them to secure
             distribution.

          Table 6: Summary of iOS “App Store” Gaming Apps Rejected by Apple62




      v. The Epic Games Store sought permission from Apple to distribute iOS apps for the
         iPhone. Apple refused to allow this.


60
   Pocketgear, “Pocketgear,” as rendered on October 6, 2008,
https://web.archive.org/web/20081006192330/http://pocketgear.com/. Following the closure of
PalmGear in 2007, users were redirected to PocketGear.com. See Palm Infocenter, “PalmGear
Now Officially Retired,” November 29, 2007,
http://www.palminfocenter.com/news/9529/palmgear-now-officially-retired.
61
   Leena Rao, “PocketGear Rebrands to Appia; Shifts to White-Label App Marketplace
Platform,” TechCrunch, February 3, 2011, https://techcrunch.com/2011/02/03/pocketgear-
rebrands-to-appia-shifts-to-white-label-app-marketplace-platform/
62
     [1] PX2126; APL-APPSTORE_09600090.
     [2] PX2325; PX2326; PX2333.



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        167. Empirical findings (vi)-(vii) show that competitive app distribution, including
direct distribution, is the norm for personal computers, including the macOS, which is
consistent with the competitive situation seen for smartphones in the absence of restrictions.

         vi. For personal computers, I found that direct distribution of apps from developer
             websites is common. I also found 10 third-party stores that distribute Windows and
             macOS apps.

         vii. I examined how 16 top personal computer applications are distributed to users.63
              They are all distributed directly from the developer website as well as from app
              distributors such as Staples, Softonics, and CNET.

       168. Empirical finding (viii) shows that App Store users would use other distribution
channels if given the option based on a comparison of the iOS App Store and Mac App Store.

         viii. The Mac App Store functions like the iOS App Store. Both stores use the same
               Apple user account information and payment methods, subject applications to
               Apple’s review process, and provide similar functionality. Both are pre-installed on
               their respective devices. The key difference between the Mac App Store and the
               iOS App Store is that Apple has not made the Mac App Store the only way for
               developers to distribute macOS apps to consumers. A survey of macOS developers
               in 2018 found that 78% of macOS developers distributed apps through channels
               other than the Mac App Store.64

                2.      Competitive Effects Regarding Prices

        169. Economic theory and experience show that when barriers to competitive entry
are removed, consumers get lower prices. When consumers have more alternatives to choose
from, firms have incentives to lower prices to prevent diversion of sales to their rivals. Firms
are forced to compete away profits by cutting their prices in the absence of artificial barriers to
competition. A detailed empirical analysis of app commissions shows that this theory and
experience applies to app distribution. Below I report three main sets of findings.




     [3] PX2116; PX2328.
   [4] PX2048; Apple, “Google Stadia,” https://apps.apple.com/us/app/google-
stadia/id1471900213.
     [5] PX2109; PX2280.
63
 The applications were: Adobe Acrobat Reader, Adobe Flash Player, Adobe Photoshop,
Avast, uTorrent, WinZip, WhatsApp Web, YTD Video Downloader, Quickbooks, TurboTax,
Malwarebytes, Microsoft Office, Skype, Mozilla Firefox, CCleaner, and VLC Media Player.
64
     PX2746.

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            i. When entry occurs, commissions fall. This evidence supports the economic
               prediction that entry into iOS app distribution would have resulted in lower
               prices and that preventing entry artificially raised prices.

            ii. Developers pay substantially lower commissions in competitive app distribution
                markets, in which third-party app stores and direct distribution are not blocked,
                than those charged by the monopoly App Store.

            iii. Entry that caused even a modest dissipation of the App Store’s supracompetitive
                 profits would have resulted in substantially lower commission rates.

Lower commission rates directly benefit app developers and indirectly benefit app users to the
extent developers lower their prices given their lower costs. Even if developers do not lower
their prices, they would retain greater profits to reinvest in their app businesses, indirectly
benefiting consumers by increasing quality, output and innovation.

                       a.        Entry and Commissions

        170. Personal computer games are distributed through app stores, including ones that
specialize in games, and through direct distribution. In this section, I provide two examples of
the impact of entry into personal computer game distribution on commissions: the Epic Games
Store and the One Store.

        171. Steam, owned by Valve, has operated the largest personal computer game store
since the mid-2000s. Epic Games launched the Epic Games Store (“EGS”), a personal
computer app store, in December 2018. It chose to differentiate itself from Steam in part by
giving developers a lower-cost alternative for app distribution and for payments for in-app
purchases. Compared with the 30% commission charged by Steam, EGS charges a commission
of 12% on the purchase price of its offerings and on in-app purchases for those developers that
choose to use its payment processing solution, with 88% of revenues going to developers.

       172. The entry of EGS drew an immediate competitive response from Steam, which
lowered commission rates for high-revenue-producing games.
                                               65


         173.   Valve also noted that


                       66
                            Steam viewed




65
                             .
66
     DX4200 at ‘670.

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       174. In South Korea, the three major mobile carriers and the leading search engine
formed an alliance to launch an Android app store, in competition with Google Play, called the
One Store. It launched in June 2016. After struggling to attract developers, it reduced its
standard commission rate in July 2018 from 30% to 20%, where it remains today.68 It also
allowed developers to use their own payment methods, in which case it charged a 5%
commission. One Store now accounts for 20.6% of Android app store sales in South Korea
which means the average effective Android commission in South Korea (including Google
Play) has declined by at least 6.9% ((20.6%*10%)/30%). In addition, the One Store has offered
promotions to users, with refunds of 30-50% on total transactions for certain gaming apps.

                         b.     Commissions in the Absence of Distribution Restrictions

        175. Commissions in the absence of distribution restrictions would have been lower
than the commissions Apple currently charges on iOS.

        176. First, I have estimated that the effective commission for the distribution of game
apps for personal computers, where Microsoft and Apple do not block third-party app stores or
direct distribution, is no higher than 14.5%. iOS game apps pay a 30% commission to the App
Store, which is more than twice as high. I examined game apps because I had data from
Microsoft on direct distribution for this category of apps.

         177.     I arrived at my 14.5% estimate as follows.



                  69
                  To be conservative, I assumed that the effective cost of direct distribution is
12% based on EGS’s commission. I also assumed that the average commission for third-party
app stores is equal to the                                       , which is conservative because
EGS and other third-party app stores charge lower commissions. Based on these assumptions, I
calculated that the average cost incurred by developers, based on their actual or effective
commissions on in-app purchases, is 14.5%, and likely lower given the conservative
assumptions.


67
     DX4200 at ‘671.
68
   Korea Bizwire, “Korean App Market ONE Store Eyes Global Alliance to Compete with
Google,” December 1, 2019, http://koreabizwire.com/korean-app-market-one-store-eyes-
global-alliance-to-compete-with-google/148739; Korea JoongAng Daily, “One Store gains
ground in local Android app market,” December 2, 2020,
https://koreajoongangdaily.joins.com/2020/12/02/business/industry/One-Store-app-market-
Google/20201202175300439.html.
69
     PX2477.17.

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        178. Second, the average effective commission for Android app distribution in China
is substantially lower than the App Store commission. That may seem surprising given that
many app stores in China have a listed commission rate of 50% for game apps. However, some
developers pay much lower effective rates because they can negotiate lower rates, operate their
own app stores, use app stores that charge lower rates, and use direct distribution. Given lower-
cost alternatives, they can decide whether the services provided by Android app stores are
worth 50% or whatever rate they can negotiate.

         179. Consider Tencent, which accounts for more than half of mobile game revenue in
China. It has negotiated commission rates of 30% with many app stores, and analysts estimate
that the average rate paid is 40%.70 But it uses those app stores for only 30% of its Android
sales.71 For the bulk of its sales, it relies on its own app store and direct distribution from its
websites. Assuming conservatively that its cost of direct distribution is 12%, its average
commission rate is 20.4%. By contrast, it pays the App Store a 30% commission.

                       c.      Dissipation of App Store Profits Under Competition

        180. Based on the empirical evidence discussed above, I would expect that in the
absence of Apple’s restrictions, multiple app stores would enter on iOS, some of which would
provide general app distribution while others of which would provide specialized app
distribution. I would also expect that developers would use direct distribution. In this situation,
developers could decide whether to use app stores with particular commission levels or other
alternatives, as has been the case in China for Android apps and for Windows and macOS apps.
Based on the evidence, I would expect that this competition would put downward pressure on
Apple’s commissions and result in substantially lower effective commissions for developers.

        181. Apple would have to respond to entry through some combination of lowering its
commission rate and/or increasing the amount and quality of services provided to developers to
mitigate the decline in traffic to the App Store and the revenues earned by the store. These
reactions would dissipate some of its profits, which is expected when competition is present.
Using the App Store financials, I have prepared two calculations that show that, even with
reductions in the App Store’s profit margin that would leave it well above the benchmark
online marketplaces, it would have substantially lower commission rates.

       182.
                                                   In July 2011, Mr. Schiller, who was the
Senior Vice President, Worldwide Product Marketing at the time, noted in an email to Mr. Jobs
and Apple Senior Vice President, Internet Software and Services, Mr. Eddy Cue that in order to

70
   Guan Cong, Zhang Erchi and Qu Yunxu, “Tencent Game vs. Huawei”, Caixin Weekly, Issue
2, January 11, 2021, https://m.weekly.caixin.com/m/2021-01-09/101648507.html; J.P. Morgan
“Thoughts on Tencent’s partnership with NVIDIA to launch cloud gaming service,” December
20, 2019, p. 2.
71
  J.P. Morgan “Thoughts on Tencent’s partnership with NVIDIA to launch cloud gaming
service,” December 20, 2019, p. 2.

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               3.     Competitive Effects Regarding Distribution Services, Quality, and
                      Innovation

        186. When consumers have choices, firms have to compete not just on price, but also
by offering better and more innovative products.76 I have found that, but for Apple’s app
distribution restrictions, iOS app developers and users would have more, and better, services
from the App Store, and would have benefited from more innovation, including innovative
entry.

                      a.      Spending on App Store Services and Innovation

         187. One reason the App Store has had a high profit margin is that it has not spent
much on providing services to iOS app developers and users. As shown in Figure 3, of every
dollar it takes in revenue from developers, Apple spends 17 cents including for fixed costs. One
reason the benchmark online marketplaces have had lower margins is because they have spent
more running their stores.




       188.




76
  Firms can compete by offering lower quality products at lower prices. A firm will lose sales,
however, to rivals that offer better products at the same price, or that offer the same quality
product at a lower price. Firms that don’t innovate will ultimately lose sales to firms that do.

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                       b.     Search and Discovery

        191. An example of the lower quality services that the lack of competition for iOS
app distribution has yielded is poor search and discovery in the App Store. Apple conducted
surveys of developers concerning their satisfaction with the App Store along with other Apple
services. A February 2010 survey of iPhone developers administered by Apple found that
“[a]pp visibility in the App Store is the area of most dissatisfaction” and “[v]ery few developers
are ‘somewhat’ or ‘very satisfied’ with the visibility of their apps in the App Store”.78 Only
30% of U.S. respondents said that they were satisfied with the “visibility of your app on the
App Store.” In the same survey, 90% of U.S. developers were satisfied with the iOS SDK that
they used to develop apps.79 That 30% satisfaction rating was less than half of the 74.4%
national average customer satisfaction score across all sectors and industries.80

        192. The situation did not improve much in later years. A May 2017 Apple survey of
iOS app developers found that only 36% of U.S. developers expressed satisfaction with
whether the App Store “[e]nables discovery of my apps”.81 When the survey participants were
asked for the top three most effective marketing activities for driving downloads on the App
Store, the three most frequent answers from U.S. developers were unrelated to the App Store
(word-of-mouth marketing, social media community outreach, and social media advertising).82

        193. Apple executives have recognized the problem. Mr. Schiller forwarded an article
about the discoverability and other problems with the App Store, noting that it contained
“[s]ome constructive criticism with suggestions...”83 The article, titled “Where’s the App for
That?”, stated:

         With so many apps in the App Store, discovery has become such a serious
         problem that today’s version of Apple’s 2009 catchphrase may as well be
         ‘Where’s the app for that?’

       194. The Apple survey evidence is consistent with statements I have reviewed from a
survey of trade press, analysts, and other industry observers between 2009 and 2020. I will
elaborate on these findings at trial.




78
     DX3877 at ‘423, ‘428.
79
     DX3877 at ‘425.
80
  Sara Staffaroni, “Customer Satisfaction Score (CSAT) Industry Benchmarks,” GetFeedback,
November 24, 2019, https://www.getfeedback.com/resources/cx/customer-satisfaction-score-
csat-industry-benchmarks/.
81
     DX3922 at ‘104.
82
     DX-3922 at 087.
83
     PX2065.

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       195. Competition would have forced the App Store to improve its search and
discovery capabilities, which would have resulted in more efficient matches for iOS app users
and developers. It would also have given iOS app users and developers other search and
discovery alternatives.

                       c.     Marketing and Promotion

       196.    Online marketplaces typically promote sellers and their products as part of the
services provided to buyers and sellers. The App Store uses some of the standard techniques of
online marketplaces to highlight apps. A May 2017 survey of Apple app developers found that
only 34% of U.S. developers felt that the App Store “[p]rovides the tools I need to successfully
market apps”.84 The level of satisfaction on this point was even lower in two prior surveys, at
21% in March 201585 and 26% in December 2015.86

        197. Many developers reported in the May 2017 survey they were not satisfied
because the App Store did not offer personalized recommendations.87 That’s a common feature
in other online marketplaces. For example, Amazon has offered personalized recommendations
to customers since at least 1997 and published a paper in 2003 describing their methodology.88
Apple did not make App Store discovery and personalization a focus area until its 2018 fiscal
year. Apple noted that as of 2017, the App Store was “one-size-fits-all”.89

        198. Better marketing and promotion would have benefited users who would have
received more information about apps, which would have improved their decisions on which
apps to use.

                       d.     IAP and Other Requirements

        199. To be carried in the App Store, Apple has various requirements that impose
costs on iOS app developers and users, including the following from Apple’s Developer
Program License Agreement (DPLA) and App Store Review Guidelines:




84
     DX3922 at ‘099.
85
     APL-APPSTORE_09986588 at ‘660.
86
     APL-APPSTORE_09797056 at ‘060.
87
     DX3922 at ‘096.
88
  Amazon.com SEC Form 10-K for the year ended December 31, 1997, at p. 2; Linden, Greg,
Brent Smith and Jeremy York (2003) “Amazon.com Recommendations: Item-to-Item
Collaborative Filtering,” IEEE Internet Computing 7(1), pp. 76-80.
89
     PX2176.28.

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      •   iOS apps are exclusively distributed through the App Store90 and must be approved by
          Apple.91

      •   iOS apps must “not create a store or storefront for other code or applications” and will
          “not provide, unlock or enable additional features or functionality through distribution
          mechanisms other than the App Store, Custom App Distribution or TestFlight”.92

      •   Developers must use Apple’s payment solution for sales of in-app digital content.93

      •   Developers must pay Apple a 30% commission on digital content sales, including in-
          app purchases.94

      •   Developers must make content available for in-app purchases if they make that content
          available on other non-iOS platforms.95

      •   Developers must offer Sign-in-with-Apple if the app uses any third-party login service
          such as Google or Facebook.96

      •   Developers must make changes to their apps as demanded by Apple as a condition of
          getting access to iOS users.97

         200. Several restrictions are related to Apple’s IAP requirement, which is discussed
in more detail below. Apple requires that developers use IAP, and the Apple payment solution,
through which Apple collects revenue from developers on in-app purchases of digital content.
It then imposes various restrictions that steer transactions to IAP by preventing developers from



90
     PX2557.38; PX2557.65.
91
     PX2557.16.
92
     PX2557.17.
93
     PX2558 at 3.1.1.
94
   PX2621.4-PX2621.5. Apple charges a 15% commission “for auto-renewing subscription
purchases made by customers who have accrued greater than one year of paid subscription
service within a Subscription Group.” Id. On January 1, 2021 Apple began charging a 15%
commission for developers who made less than $1 million in the previous calendar year on
iOS. See Apple, “Apple announces App Store Small Business Program,” November 18, 2020,
https://www.apple.com/newsroom/2020/11/apple-announces-app-store-small-business-
program/.
95
 PX2558 at 3.1.3(b). Apps may allow a user to access previously purchased content for
magazines, newspapers, books, audio, music, and video. PX2558 at 3.1.3(a).
96
     PX2558 at 4.8.
97
     PX2557.35-PX2557.36.

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offering in-app purchases on non-iOS platforms without offering them in their iOS apps, or
from communicating with customers about options for making purchases outside the app.

        201. In the absence of Apple’s app distribution restrictions, competition would enable
developers to use other app stores that do not require developers to use the store’s payment
solution or that could provide lower prices or a better solution for the developer’s requirements.
Developers could also use direct distribution. This competition would put pressure on App
Store commission rates and encourage Apple to improve its IAP payment solution, such as by
providing more customized solutions or relaxing its associated requirements.

                        e.    iOS App Store and Mac App Store Comparison

        202. The Mac App Store has many of the same features and requirements for
developers as the iOS App Store. Apple, however, does not require that developers use the Mac
App Store as a condition of distributing macOS apps. The difference between these two Apple
stores provides meaningful information for what developers would do in the absence of the app
distribution restrictions. In 2018, 78% of macOS developers used channels of distribution other
than the Mac App Store.98

        203. Apple asked Adobe why it did not use the Mac App Store more. Adobe
responded with a long list of a wide range of problems.99 Apple conducted a review of 18
macOS developers (including Adobe) that had either declined to use, were unhappy with, or
had left the Mac App Store; 15 of those developers listed problems similar to those raised by
Adobe (not counting issues with sandboxing requirements in the Mac App Store, which are not
applicable to iOS apps).100

        204. Developer behavior with respect to the Mac App Store provides strong evidence
that Apple’s app distribution restrictions have caused iOS app developers to use an inferior
distribution channel and that its restrictions have thereby reduced quality in the iOS app
distribution market. These same restrictions have caused iOS app users to use an inferior
distribution channel.

                        f.    Innovative Entry

        205. Apple’s app distribution restrictions prevent innovation in the iOS app
distribution market by blocking app stores that have new and creative ways of serving iOS app
users and developers. Recently, it prevented the entry of specialized apps for distributing games
by Amazon, Facebook, Google, Microsoft and Nvidia that had innovative models. We cannot
know whether game developers and users would have found those models desirable.



98
     PX2746.
99
     PX133.
100
      DX4024 at ‘742.

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        206. Distribution for personal computer OSs demonstrates the value of allowing
entry. In 2003, Valve, a leading game developer at the time, started Steam, a store to distribute
its own games, to solve specific problems presented by existing distribution alternatives for
personal computer games. According to a Valve executive,

        “We went around to everybody and said ‘Are you guys doing anything like this? We
        need this for our games, and therefore other people are going to need it someday soon.’
        And everyone was like: ‘Blah, blah, blah...That’s a million miles in the future.’ So we
        said ‘We need it now’ and everyone said ‘Well, we can’t help you.’”101

        207. Valve opened Steam to other game developers in 2005 and become the leading
online store for personal computer games. In addition to operating an online marketplace for
games, Steam has introduced many other features that have benefited game developers and
players. These include social network capabilities such as text and voice chat and discussion
boards; a separate marketplace for buying and selling in-game items; and personalized game
recommendations.

       208. This innovative entry could not have happened if Microsoft had prevented
Windows app developers from distributing their apps directly to users or from using third-party
app stores. Unknown and unknowable is what innovation Apple’s restrictions have prevented
and continue to prevent.

               4.      Apple’s Ability and Incentives to Limit Competition with Its First-
                       Party Apps

       209. Apple has used its monopoly over the App Store to engage in practices that limit
competition between third-party apps and its own apps. It would have less ability to do so with
competition in iOS app distribution because developers could use other channels, not subject to
App Store practices, and Apple would have less incentive to engage in this conduct, because it
would lose revenue and traffic to the App Store if developers were to use other channels.

                       a.     Self-Preferencing with Respect to Search and Discovery and
                              Promotion

       210. Apple can use the search and discovery features of the App Store to advantage
its own apps and disadvantage those of rivals—a practice known as “self-preferencing”—
including declining to promote competing apps. There is evidence from the discovery record,
described below, that Apple has used self-preferencing to disadvantage rival apps in the App
Store.

        211. In January 2012, in response to an inquiry from the App Store team asking if
they should promote a new music player app by Shazam, Mr. Cue replied: “No promotion... we
are not going to promote something that puts it’s [sic] goal as replacing our music player unless

101
   GamesIndustry.biz, “The Last of the Independents?”
https://www.gamesindustry.biz/articles/the-last-of-the-independents-.

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it is significantly better than our player and this is not.”102 Apple subsequently acquired Shazam
in 2018.

        212. In May 2019, in response to complaints by LinkedIn that it was not permitted to
engage in marketing that was similar to that seen for Apple’s own apps, an App Store
businessperson wrote “Developers (latest LinkedIn) cannot fathom why our apps are permitted
to do things they are not…”103

        213. In an internal Apple email in May 2018, an App Store businessperson noted that
“I think the [Apple] Files app was manually boosted on the top for the query ‘Dropbox’ during
last WWDC [in June 2017].”104 That is, Apple chose to manually insert its own Files app above
the app of a competitor, Dropbox, for nearly a year. Apple Vice President, App Store, Mr. Matt
Fischer noted that he wanted to know how it had happened and to be consulted for any similar
requests in the future, though he did not state that Apple should not preference its own apps in
the App Store.

                       b.      Competitive Effects of Apple’s Ability and Incentive to
                               Disadvantage Third-Party Apps

        214. Apple has faced no constraints in engaging in the behavior described above
because developers and users have nowhere else to turn but the App Store for iOS apps. When
Apple uses the App Store review process to hinder a rival app, downgrades a competing app in
search results, it affects all of the developer’s business with iPhone users.

        215. Developers would face lower risks and costs if more of their business came from
other distribution channels. Meanwhile, Apple would have less incentive to use the App Store
for these purposes because it would risk losing developers, and then users, that would divert
their distribution demand to other channels.

                  5.   Summary of Competitive Effects in iOS App Distribution Market

        216. For some two-sided platform markets, the challenged conduct can harm one
group, but benefit the other group, so that the overall market effect is based on the net of these
two opposite effects. In other two-sided platform markets, the challenged conduct has adverse
effects on both groups.

       217. Based on my analysis in this matter, I conclude that Apple’s challenged conduct
harms both developers and users. The app distribution restrictions result in both groups paying
higher prices, getting less and poorer quality distribution services, and less innovation,
including innovative entry.


102
      PX428.
103
      PX858.2.
104
      PX2031.1.

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        218. I have therefore concluded that Apple’s app distribution restrictions have
harmed competition and consumers in the two-sided iOS app distribution market, and these
practices have raised the overall price, reduced overall quality, and reduced innovation—as
compared to the but-for world in which Apple’s app distribution restrictions did not exist.

        219. I have also concluded that, under an alternative approach, based on linked
single-sided markets, that these restrictions have harmed competition and consumers in the
separate iOS app distribution markets for iOS app users and developers. In either case, the
practices have resulted in consumers in those markets paying higher prices and getting lower
quality and less innovation than in the but-for world. I would also reach the same conclusion
for app distribution markets that include both iOS and Android distribution since Android app
distribution provides no material competitive constraint on iOS app distribution for the reasons
discussed earlier.

VII.     THERE IS A RELEVANT ANTITRUST MARKET FOR IOS IN-APP
         PAYMENT SOLUTIONS, IN WHICH APPLE HAS MONOPOLY POWER AND
         IN WHICH APPLE’S CONDUCT HAS CAUSED ANTICOMPETITIVE
         EFFECTS

       220. I have analyzed Apple’s IAP requirements under the assumption that Apple has
a lawful monopoly in the iOS app distribution market, and I conclude that:

           i. Payment solutions for in-app purchases (including IAP) and app distribution are
              separate products;

           ii. Apple has required that a targeted group of app developers use Apple’s payment
               solution as a condition of distributing apps to iOS users via the App Store;

           iii. The provision of payment solutions to this targeted group of app developers
                constitutes a relevant antitrust market, based on standard economic approaches
                involving price-discrimination markets, in which Apple has monopoly power;

           iv. Apple’s requirement that developers of these apps use its payment solution has
               caused anticompetitive effects by increasing the price of payment solutions,
               reducing the quality of these solutions for developers and their customers, and
               slowing innovation compared to a competitive market in which Apple did not
               mandate the use of IAP;

           v. Apple’s requirement that developers use its payment solution meets the
              economic conditions of a tie; and

           vi. The fact that some other app stores also bundle app distribution and payment
               solutions does not alter these conclusions because these stores likely lack
               substantial market power and developers can therefore choose whether to take
               the bundle of services or not.



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        221. Apple’s IAP requirement would have lesser anticompetitive effects if developers
did not have to use the App Store as their sole distribution channel for iOS apps. Apple’s IAP
requirement would not have anticompetitive effects, or meet the economic conditions of a tie, if
the App Store did not have substantial market power in iOS app distribution.

       A.      Background

       222. I provide in this section a brief overview of payment solutions and payment
processing and Apple’s IAP requirement and its payment processing infrastructure. I base my
opinions here and throughout Section VII both on my research and analysis conducted for this
matter and on my professional knowledge of the payments industry, which has been the subject
of my scholarly research and writings.

               1.      Payment Solutions and Payment Processing

        223. As a general matter, a payment solution enables a merchant to accept payment
credentials, such as credit cards, from customers and collect payment from the funding source
behind those credentials, such as the bank that issued the card. Payment solutions involve using
a payment processor, which can authenticate payment credentials, enable the collection of
funds from the funding source, and pay the merchant what it is owed from the customer less
applicable fees. In the last decade, many payment processors have emerged that specialize in
online transactions, including those involving mobile apps, and have spurred innovation.

        224. Developers often create portions of their own payment solutions, including the
user interface for their customers, in conjunction with online payment processors that provide
an API that developers can incorporate in their software. Developers typically rely on multiple
payment processors that can provide more payment options to their customers, who may be
located in many countries, and valuable features for their payment solutions.

               2.      Apple’s Payment Solution Based on Apple ID

        225. Apple has developed a payment solution, which it uses for its various online
businesses as shown in Figure 4, which reproduces a page from an Apple Payments &
Commerce deck from March 2018. AMP refers to Apple Media Properties which include the
App Store, the iTunes Store on iOS, Apple Music, and iCloud. The iTunes Payment Systems
handles PayPal and non-US payment types, and the Apple Payment Gateway handles the major
credit and debit card brands, for all of these properties. Apple requires customers to establish an
Apple ID, to which they can attach payment credentials. Apple’s payment solution also uses
online processors. The Apple payment solution was originally developed for its iTunes Store in
2003.




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                 3.      Apple’s IAP Requirement

        226. Apple’s DPLA and App Store Review Guidelines require that iOS developers
use Apple’s IAP mechanism for any in-app sales made to users that unlock features or
functionality within the app.106 The developer has to use a set of APIs provided by the App
Store to support this check-out method. When a consumer purchases an in-app item by, for
example, pressing a “buy” button, the payment is processed using Apple’s payment solution.
Apple remits the developer for payments made by users, minus Apple’s commission, monthly.

        227. Apple has required that apps offering in-app purchases of digital content and
services use IAP, but not apps offering in-app purchases of physical goods and services
(“physical apps”). Apple has allowed certain exceptions to its IAP requirement, discussed
further below.

                 4.      IAP Services Provided to Developers

        228. Apple’s IAP programming guide for developers warns that “In-App Purchase
only collects payment. You must provide any additional functionality, including unlocking
built-in features or downloading content from your own servers.”107 It explains that:

          “The Store Kit API is only a small part of the process of adding a store to your
          application. You need to decide how to track the products you plan to deliver, how your



105

106
      PX2557 at 3.3.3; PX2558 at 3.1.1, 3.1.3.
107
      DX-4649 at ‘673.

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     application presents a store front to the user, and how your application delivers the
     products users purchase from your store.”
     229.




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economics distinguishes these cases by examining whether there is separate demand for the two
products. If there is separate demand that suppliers meet, then some consumers would prefer to
purchase those products separately, and it is efficient for suppliers to serve that demand. Where
there is separate demand, the bundled products are properly considered two separate products
rather than a single, integrated product.

        231. Assessing whether there is separate demand for payment solutions and app
distribution is the first step in analyzing the competitive effects of Apple’s IAP requirement.

               1.      App Distribution, In-App Purchases, and Payment Solutions

        232. Apps are different from many products that consumers buy at a store because
they often support an ongoing businesses relationship between the developer and the app user,
including the sale of products and services to customers within the app. Adobe Acrobat, for
example, distributes its app directly to customers on their personal computers. Once a
customer has the app, they set up an account and attach a payment card. Adobe charges for the
subscription and any renewals. Uber, to take another example, distributes its app to customers
through the App Store. Once the customer has the app, they set up an account and attach a
payment card. Uber charges that card for subsequent rides.

         233. The in-app transaction between a business and customer using an iOS app does
not have to involve Apple and often does not—except that Apple has required that the business
use IAP for certain transactions as a condition of Apple distributing the iOS app through the
App Store. The fact that Apple compels the use of IAP, however, does not provide any relevant
economic evidence on whether IAP and app distribution are separate products. Any company
that ties two products together—say automobile service and parts—can make a similar
assertion. But it is necessary to examine whether there is separate demand for payment
solutions and app distribution to determine whether they are separate or in fact a single product.

        234. The empirical evidence reported next shows that payment solutions are separate
products from app distribution. When given the choice, developers usually create their own
payment solutions or use a turnkey solution.109 They often do not get their payment solutions as
part of a bundle from an app store. When given the choice, they get distribution services from
app stores, or other channels available to them, without also getting a payment solution from
those same stores.




109
   PayPal is an example of a simple turnkey solution. A developer could just have a PayPal
payment button, which would then handle almost all aspects of a payment solution.

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               2.     Digital Apps Choose Their Own Payment Solution When Given a
                      Choice

        235. I have identified situations in which the App Store or Google Play Store gave
app developers the choice of using the store-supplied solution (IAP or Google Play Billing) or
their own payment solutions. In all cases, developers chose their own solution:

           i. Apple allowed customers of three large developers—Amazon Prime Video,
              Altice One and Canal+—“the option to buy or rent movies and TV shows using
              the payment method tied to their existing video subscriptions.” I have
              confirmed that in all cases, these developers chose to use their own payment
              solutions.

           ii. Google allows developers of non-gaming apps that enable users to buy digital
               goods that can also be consumed outside of the app to use their own payment
               solutions for those apps. I have confirmed that Hulu, Netflix, Tinder, and
               Spotify use their own payment solutions in their respective Android apps.

           iii. Apple gave Uber and Lyft the option of using IAP for the purchase of ride
                subscriptions. Both chose to use their own payment solutions instead.

       236. In all of these cases, the developers had existing payment solutions for apps that
were distributed for personal computers, connected televisions or, in the case of Uber and Lyft,
mobile non-subscription transactions. Developers created those payment solutions separately
from app distribution and, when permitted, can use those payment solutions for apps distributed
through the Apple and Google stores, which is what they did. In the case of Apple, all of these
developers distribute their apps through the App Store even though they are not using IAP.
Developers therefore have separate demand for payment services and for app distribution.

        237. This is not to say that developers would never choose to use payment services
offered by an app distributor, including as part of bundle. Had Apple offered IAP on better
terms, some of these developers perhaps would have opted to use it.

               3.     Physical Apps That Cannot Use IAP

       238. Apple does not make IAP available to most physical apps. Like the digital apps
above, physical apps supply their own payment solutions, which they create in concert with
payment processors. As consumers, we know that when we use these apps, we must set up an
account with the app and provide a payment credential. I have confirmed that 11 popular
physical apps—Grubhub, Wish, StubHub, Uber, DoorDash, Lyft, Instacart, PostMates,
Amazon Shopping, Walmart, and eBay—have their own payment solutions from inspecting the
apps and verifying their payment processors.


      239. Physical apps therefore have separate demand for payment solutions and they
can meet that demand by creating their own solutions in concert with payment processors. The

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fact that Apple does not offer IAP to these physical apps does not change the finding that, as a
matter of economics, there is separate demand for payment solutions and app distribution.

         240. Conversely, if Apple mandated that physical apps use IAP, or some variant
tailored to physical apps, it would not turn their separate demand for payment solutions into a
single demand for app distribution and payment solutions. Uber and Lyft, for example, would
still have separate demand for payment solutions even if Apple required that they use IAP for
ride subscriptions. As a matter of economics, just because a company says a buyer has to take
a bundle does not mean that the bundle is a single product.

                4.     Developers Subject to the IAP Requirement That Have Sought to
                       Use Their Own Payment Solutions

        241. In addition to Epic, Apple has acknowledged that it has terminated more than
2,000 developer accounts for violating its IAP requirement. Match Group, Facebook, Spotify,
Microsoft, and Hey have sought to use their own payment solutions. These developers had
separate demand for payment solutions. The Match Group also changed its in-app payment
processing method inside its Tinder app for Android, so that users had the option to pay using
Tinder’s payment solution or Google Play’s payment solution, with the same price for each
option.
                     This demonstrates both developers’ and consumers’ demand for a
payment solution separate from app distribution.110

         242.


While Apple did not permit this, it is an example of a developer wanting to use a payment
solution other than IAP even if Apple’s solution were effectively available for free.

                5.     App Store, Distribution, and IAP

       243. Apple provides app distribution separately from IAP. Apple distributed apps
through the App Store before IAP was created. Apple also distributes physical apps, ad-
supported apps, and apps that do not offer in-app transactions. Other app stores do the same.
There is separate demand for app distribution, which app stores provide.

        244. Apple’s payment solution is a separate service that is provided to multiple Apple
properties, predated the App Store, and has not been operated as part of the App Store. It is not
provided for most apps that are distributed through the App Store, as noted above. It is
therefore not part of an integrated product.

        245. Apple also does not have to require that developers use IAP to operate a
profitable app store. It could charge separately for distribution services. It could also offer IAP
as a separate product. Smaller developers could find IAP attractive at the current commission

110
      PX863.

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of 30% (or now 15%, if the developer makes under $1 million per year on iOS), because it
would allow them to avoid the fixed costs associated with managing a payment solution. And
larger developers could potentially find that IAP would be attractive to use, exclusively or
alongside other alternatives, if it were offered at a lower commission. Given Apple’s profit
margin, it has great latitude in operating a profitable app store—and a profitable payment
solution—on a competitive basis, without requiring IAP.

        246. Several Android app stores do not require that digital content providers use the
store’s check-out method, and its payment processor, for in-app purchases, and developers use
these app stores and their own check-out methods with their choice of payment processor. This
includes Google Play Store with respect to non-gaming digital content that may be consumed
outside of the app, as well as app stores in South Korea and India. In addition, the Epic Games
Store on PC does not require that developers use the Epic payment solution, and some large
developers have chosen to use their own payment solution.

        C.     Relevant Antitrust Market

       247. I turn now to analyze the relevant market for evaluating Apple’s IAP
requirement, and I begin by discussing the market definition principles that are applicable to
the inquiry. I conclude that the relevant market is the market for payment solutions for
accepting and processing payments for purchases of digital content made within an iOS app.

        248. This market is centered around a targeted group of customers, i.e., those that sell
digital content in their apps. Such a market is appropriate when a firm can apply its conduct to
the targeted group without facing competitive discipline, for example, from the targeted
customers’ being able to substitute or to negotiate for better terms. In these circumstances, the
targeted customers are vulnerable to an increase in price. Developers that offer in-app
purchases subject to Apple’s IAP requirements are such a targeted group. Within this group,
Apple applies the same IAP restrictions, and the same pricing, regardless of the type of app.111

               1.     Applicable Market Definition Principles

        249. To help exposit the analysis of market definition, it is useful to begin by
considering a hypothetical situation in which there is a competitive market for payment
solutions for iOS in-app purchases of digital content and then describe how antitrust economics
would determine the relevant market for assessing a requirement that developers begin using an
app store’s payment solution.

      250. Currently, developers of physical apps obtain payment solutions in a
competitive market, in which they build their own user-facing solution and rely on a third party



111
   Apple permits so-called “Reader” apps to allow a user to access previously purchased
content or content subscription (specifically: magazines, newspapers, books, audio, music, and
video). PX2558 at 3.1.3(a).

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for back-end payment processing, or rely on a turn-key solution. The cost of processing
transactions using payment processors is around 5%.

         251.    Suppose an app store adopted a policy that required physical apps to begin
using its in-app payment solution, perhaps one customized to physical apps, as a condition of
being distributed by the store, and further suppose that it charges a higher price than what those
developers were otherwise paying. If a developer complied, it would no longer be able to use
its self-supplied payment solutions or the payment processors it hired to support those
solutions. If a developer did not comply, the app store would not carry its app or allow users to
update the app.

        252. To analyze whether the app store has the market power to force physical apps to
use its payment solution, and at a higher price, an antitrust economist would need to assess the
relevant market. That would involve an analysis of whether developers could switch to other
channels of distribution, which would be the developers’ only option because switching
payment processors would not be permitted in the current store and exiting the platform would
be unprofitable. Suppose, however, that we had historical evidence that, following the
imposition of this policy, the targeted developers used the app store’s payment solution for
which they paid a substantially higher fee than they paid for the payment solution they
previously self-supplied in concert with payment processors. That those developers did not
switch implies that they had no reasonable alternative to switch to—no alternative payment
solution and no alternative distribution channel.

        253. Those empirical before-and-after observations would provide strong evidence
that the targeted developers are what antitrust economists sometimes refer to as a price
discrimination market. As Professor Jonathan Baker has explained, a price discrimination
market can be found when

        “…a hypothetical monopolist of a group of products and locations would raise price
        profitably to a class of targeted buyers, without raising price to all buyers… A price
        discrimination market is defined not just by its products and locations; the definition
        also must identify the targeted buyers.”112
The targeted customers are foreclosed and isolated from whatever competitive threats the
hypothetical monopolist would face for non-targeted customers. They are like a group of
customers that are isolated in a hard-to-reach geographic area. The U.S. DOJ/FTC merger
guidelines also recognize the economic concept of a price discrimination market.113
        254. To assess market definition in this hypothetical, an antitrust economist can posit
that the app store is a hypothetical monopolist over the provision of payment solutions to the

112
   Baker, Jonathan (2007) “Market Definition: An Analytical Overview,” Antitrust Law
Journal, 74(1), pp. 129-173, at p. 151.
113
   U.S. Department of Justice and the Federal Trade Commission, “Horizontal Merger
Guidelines,” August 19, 2010, at § 4.1.4, https://www.justice.gov/atr/horizontal-merger-
guidelines-08192010#4e.

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targeted apps selling physical goods that want to use its store for distribution. Empirical
evidence that the app store forced the targeted developers to take its payment solution and pay a
substantially higher price would demonstrate that the app store is not just a hypothetical
monopolist, but an actual monopolist, as those terms are used for market definition. The fact
that it could, in the hypothetical, raise price substantially, shows that it can impose a SSNIP and
that the provision of payment solutions to the targeted group is a price discrimination market.

       255. Having discussed the pertinent principles, I now turn to defining the relevant
market for analyzing Apple’s payment processing restrictions.

               2.      Relevant Product Market Analysis

       256. The App Store has imposed its IAP requirement on a targeted group: developers
of iOS apps that sell digital content to customers within the app. Those apps have to use IAP,
and therefore Apple’s payment solution, rather than their own. They also must pay a
commission of 30% on most transactions, with an average commission across all transactions
of 27.7%.

        257. The App Store can enforce this requirement by blocking these particular apps
from the App Store if they do not use IAP. Apple has done that to Fortnite and at least 2,000
other app submissions. And the record evidence shows that, for example, in 2011, Apple forced
developers that were using other solutions to execute transactions within the app to begin using
IAP for subscriptions instead of their self-supplied solutions.

        258. As in the hypothetical, therefore, to determine the market boundaries, the
analysis begins by asking whether the App Store, as a hypothetical monopolist, could profitably
increase the price targeted developers pay for payment solutions by a SSNIP over a competitive
level. If it could not, then the analysis should consider expanding the market to other channels
of app distribution.

        259. While we do not have clear evidence of the rates paid by app developers for
payment solutions back in the 2009-2011 timeframe, based on the list fees for leading payment
processors today, I have calculated that the average fee for transactions is 5.9% on a $10 U.S.
transaction because many competitive payment processors charge 2.9% + $0.30 per transaction
for their services. The average list price would be lower for larger transactions, and larger
developers would likely pay less than list. Payment processing fees are higher in lesser
developed countries than in the U.S. The average fee for transactions for Epic, which is a large
developer with transactions in many countries, was 4.3% in 2019. I assume that the average
transaction fee for a developer’s own payment solution is 5%.

        260. In a competitive market in which developers had the choice of using IAP (along
with its higher commission) or their own payment solution, it is possible that some developers
would choose to use IAP because of its convenience or because their customers would prefer to
use it. Therefore, it is possible that the average transaction fee in a competitive market would
be higher than 5%.



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        261. To take an extreme upper bound, I assume that apps accounting for 80% of
transaction volume would use IAP and pay the average App Store commission of 27.7%, and
that the remaining 20% would pay the average competitive price of payment solutions of 5%.
In this highly conservative case, the average commission rate for IAP transactions would be
23.2%, based on a weighted average of the 5% and 27.7% transaction fees. To be clear, I am
therefore assuming, conservatively, that the competitive rate for iOS in-app purchases is 23.2%,
and not 5%.

        262. Based on this upper bound, I calculate that the App Store was able to raise the
average commission from the competitive level by at least 4.5 percentage points, from 23.2%
to 27.7%, by requiring the targeted app developers to use IAP. That implies a 19.4% increase
in the competitive level (27.7/23.2 - 1). That increase is much higher than the upper bound of a
standard SSNIP, which is 10%.

        263. The App Store, as the hypothetical monopolist, can therefore raise the price of
payment solutions to the targeted group of developers by a substantial amount. It is not
constrained by developers switching to another iOS app distribution channel because Apple
allows no others. Developers also cannot substitute distribution through an Android app
distribution channel because iOS app users cannot use Android apps. This finding is consistent
with my earlier finding that the App Store has monopoly power in iOS app distribution.

       264. I conclude, based on my economic analysis, that the relevant market for
evaluating Apple’s IAP requirement is the market for payment solutions for accepting and
processing payments for purchases of digital content made within an iOS app. This relevant
market is single-sided because developers are providing payment solutions for their own
customers, and most of the payment processors are not in the business of connecting consumers
and merchants but rather of providing merchants with a service.114

        265. The relevant market could be considered an aftermarket for smartphone OSs, or
iOS app distribution, only insofar as Apple’s IAP requirement forces developers to use Apple’s
payment solution. Without that requirement, the targeted app developers would have payment
solutions available to them that do not directly involve smartphone OSs or app distribution at
all.

               3.     Relevant Geographic Market

        266. The relevant geographic market is global, excluding China. To serve customers
around the world, developers require payment solutions to work in many countries. The
payment processors they hire to help them do that often provide services in many different
countries, and country coverage is one of the dimensions on which payment processors
compete. However, Chinese government restrictions have created an insular market that makes
it more difficult to operate in China, either as a payment processor or as a global developer.
114
   Developers sometimes use digital wallets, such as PayPal, which are two-sided payment
platforms for consumers and merchants, in addition to payment processors that sell payment
processing services directly to merchants.

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Developers that are mainly seeking customers outside of China typically do not use Chinese
payment processors, and Chinese payment processors are generally not considered for
providing payment processing services to these developers.

       D.      Apple’s Monopoly Power in the iOS In-App Payment Solution Market

       267. In this section, I consider whether Apple has market power in the iOS in-app
payment solution market defined above and I conclude, based on my economic analysis, that
Apple has monopoly power in this relevant market for the following reasons, documented
above:

            i. Apple, like the hypothetical monopolist in the scenario described above, is an
               actual monopolist because the targeted developers have no other payment
               solution option and no other app distribution option.

            ii. Apple has raised transaction fees paid by developers for payment solutions
                substantially above the competitive level, as shown above.

            iii. Apple has been able to raise transaction fees because it can block developers
                 from iOS app distribution, and therefore from accessing iPhone users, if they do
                 not comply with its IAP requirements.

            iv. Apple has been able to impose terms and conditions that prevent apps subject to
                the IAP requirement from accessing customized and innovative payment
                solutions provided by third-party payment processors, such as tools that help
                improve authorization rates on payments; tools that allow developers to
                customize risk management and fraud protection; internal data and analytics
                functions (e.g., tag metadata to transaction records for analysis throughout the
                transaction lifecycle); and value-added services based on visibility into the
                developer’s payments stream (e.g., business financing).

        268. Apple’s monopoly power in the market for accepting and processing payments
for digital content purchased within an iOS app is protected by barriers to entry into
smartphone operating systems (pages 23-23) and the barriers to entry into iOS app distribution
(page 39). Apple’s monopoly power in this market is durable, as reflected by the fact that it has
imposed the IAP requirement for more than a decade. Its commission rate for in-app purchases
has remained constant at 30% for most apps; the overall commission rate has declined to an
average of 27.7% largely as a result of charging a 15% commission for renewals of
subscription apps after the first year (pages 38-39).

       E.       Apple’s IAP Requirement Causes Anticompetitive Effects

        269. Apple could have offered to supply developers with its IAP payment solution
without forcing them to use it. If it had, IAP would have competed with payment solutions
self-supplied by developers and/or supplied by online payment processors that compete for
developers’ business. Apple’s IAP requirement eliminated both elements of competition:


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developers cannot compete to supply their own payment solution instead of relying on Apple’s,
and they cannot benefit from competition for their business among payment processors.

       270. Based on the economic analysis described herein, I have found that by
suppressing this competition, Apple, in the relevant market for targeted developers:

           i. foreclosed competition for payment solutions for thousands of developers for
              more than            in transaction revenue in 2019 alone;

           ii. substantially raised the price of online payment processing services;

           iii. reduced the quantity of in-app transactions and thereby the quantity of payment
                processing services;

           iv. reduced the quality of payment solutions developers could have developed with
               help from online payment processors; and

           v. reduced innovation in payment methods that developers could have achieved
              working with online payment processors.

              1.      Market Foreclosure

        271. Using data provided by Apple in discovery, I have estimated the scope of the
App Store’s requirement that targeted developers use IAP, and therefore Apple’s payment
solution, for transactions between those developers and their customers within their apps. The
results are summarized in Table 8 and show that non-Apple payment solutions are foreclosed
from a significant number of apps and amount of revenue each year.




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Table 9: Implied Average Price Increase Caused by Apple’s IAP Requirement for Online
                 In-App Transactions at Alternative Diversion Rates116




        274. The figures reported in Table 9 are indicative of the extent to which Apple’s IAP
requirement raised prices in the relevant market for accepting and processing payments for
purchases of digital content within an iOS app. The figures based on higher shares of use of
non-Apple payment solutions are more consistent with the empirical evidence reported above
(pages 63-64) concerning developer demand for payment solutions. They are not intended to be
firm predictions of the competitive price because they do not account for Apple’s response to
competition; rather, they illustrate the likely effect of Apple’s conduct on price in the relevant
market. Apple would likely reduce its commission rate for IAP if it had to compete on the
merits, or improve the value it provides, and in doing so increase the share of transaction
volume captured by its payment solution.

        275. Besides raising prices, Apple’s IAP requirement reduced the volume of in-app
transactions for the targeted developers in the relevant market to the extent they pass some of
their costs to their app users. Economic theory and empirical work show that businesses
usually pass on some portion of cost increases or decreases to customers. I have found that the
median pass-through rate for businesses is 50% based on my prior research. Higher
commissions on in-app purchases therefore likely lead to higher consumer prices, and
Dr. Rossi’s survey showed that iOS app users purchase less at higher prices (though not
sufficiently less to deter Apple from raising prices).

               3.     Quality

        276. Payment solutions are differentiated products. They vary based on how
developers want to customize their solutions given their business needs and the specialized
features and services they use from third-party payment processors. Developers lose the value


116
      PX1056 (summarizing DX5408; PX2306).

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that would be available from these differentiated and customized solutions as a result of being
coerced to use Apple’s one-size-fits-all payment solution. The following identifies specific
degradations in quality that result from targeted developers having to use Apple’s payment
solution rather than one provided in a competitive market.

                        a.     Uber Issues with IAP

        277. Apple’s effort to make Uber use IAP illustrates the impact on large developers
that have their own cross-platform payment solutions of having to use IAP. An Apple executive
dealing with Uber sent Uber’s concerns in an email:

         “Multi-platform app: Uber’s business exists across iOS and Android, and
         therefore any changes that are unique to iOS create additional burden on our end
         to build and maintain separate systems. To take advantage of the alleged
         benefits of IAP, we would need to take on non-trivial work, which we are not
         staffed to support.

         Apple Customer Service: Customer service support was flagged as a key benefit
         that justifies the IAP fee. That said, Uber has a global in-house customer
         support network to address our support needs. This system has been customized
         over time for Ride Pass, and will need to exist for Android users, even if Apple
         users were re-routed. Furthermore, informing riders of unique customer support
         policy for iOS users on this business line vs. all others creates a poor user
         experience. Lastly, given the sensitive nature of our data, sharing it with a 3rd
         party in this way could create security risks.

         Segmented pricing: One recommendation was that we can consider passing the
         30% fee to iOS users since they are “price inelastic”. We have no evidence that
         supports that claim and in fact have seen the opposite. Furthermore creating this
         disparity is a very poor user experience, which we are not interested in
         supporting.

         StoreKit: To enable the suite of benefits that come with IAP, our team would
         need to set up StoreKit to support our payments. As flagged by the Apple team,
         this is a non-trivial amount of work. Per the reasons above, there is no clear
         benefit to us in setting this up.”117

        278. Apple fully recognizes that IAP is not a value proposition. When Apple chose to
make IAP optional for the Uber and Lyft ride subscriptions, an Apple executive wrote in an
internal email: “[u]nfortunately, IAP being ‘optional’ means that no one will ever use it.”118



117
      PX2235.
118
      PX202.

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                       b.     Customer Support

        279. Forcing targeted developers to use IAP degrades the quality of the support they
can offer their customers. With IAP, the developer’s customer pays Apple, rather than the
developer, even though the transaction is between the developer and its customer. Most
consumers are not aware of this, so when they have a payments issue involving in-app
purchases, they are likely to contact the developer, because that is who sold them the product or
service. But because the developer was not involved in the payment, and because Apple does
not share payment details with developers, the developer does not have the transaction details
or the ability to work with the payment processors or funders of the card to rectify payments
disputes or even issue a refund.

         280.   Documents produced in discovery illustrate this problem:

            i. According to an Apple document concerning an app user complaint in March
               2015, “While we accept responsibility for refunding customers, we have almost
               no insight into the complex IAP issues that customers present to us. As a result,
               AppleCare is forced to employ blanket rules for refunds. In this case, the
               customer was appropriately granted 30 days worth of refunds—not his request
               of every purchase made in the game… I believe that we need to create a
               centralized system where developers are allowed to better service their customer
               support issues and grant refunds (cash or in-app).”119

            ii. A developer emailed Mr. Cook in June 2020 because “one of [his] customers
                lost a lot of money when their son with special needs spent uncontrollably in our
                game on the App Store. I am the developer of the app and for more than 3
                weeks now both the customer and myself have been trying to have those
                purchases refunded with no result. Both Apple customer support and developer
                support have shown a shocking lack of empathy for this clear cut case and so far
                refusing the refund, causing significant financial stress to the customer.”120
                (emphasis in original)

            iii. In 2016, Apple received complaints from game developers that some players
                 were significantly abusing Apple’s refund policy on apps. According to a public
                 source: “Apple holds full control in paying refunds on paid for mobile content
                 such as games. It determines whether to give refunds to consumers. But the
                 content developer cannot take part in the process under Apple’s refund policy.
                 Apple does not even provide information about the users who have requested
                 and received the refund, claiming it is to protect consumer rights. For this
                 reason, the developers have no other choice but to manually track down the
                 users and check if they continue to use the charged content they have already


119
      PX2189.
120
      PX2365.

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                received refunds for.”121 One reason that players were able to abuse Apple’s
                refund system is that Apple did not notify the developer when a refund was
                issued. Therefore, the developer had no way of knowing when they should claw
                back the in-game content from the player.

       281. The Mac App Store also uses IAP and Apple’s payment solution. Apple’s
survey of why developers were not using the store more frequently identified serious issues
concerning the ability of developers to offer customer support when they do not handle
customer transactions.

             i. Adobe complained that “We get little to no analytics on who our customers are,
                even abstracted, unless they opt-in… Our positioning is based on customer
                reviews, but we have no mechanisms to respond to bad reviews or customer
                complaints. (Poor feedback channels) …No control over refunds or remediation
                if there is a problem.”122

             ii. Bare Bones Software complained about “Destruction of the customer
                 relationship, caused by separation of the customer from the developer (we don’t
                 know who our customers are). …Limitations on product scope, functionality,
                 and documentation, created by submission guidelines and sandboxing
                 restrictions.”123

             iii. Bohemian Coding complained that “It is frustrating that we can’t reply to 1-star
                  reviews, can’t process refunds and don’t get users’s [sic] contact details.”124

                        c.      IAP Product and Pricing Requirements

        282. Developers can choose their own product features and prices when they use their
own payment solutions but not if they must use IAP, which requires developers to adhere to
rigid price and product templates. This product limitation is so significant that Apple had to
remedy it for the developers that are in Apple’s Video Partner Program, which could not
manage their package offerings using iTunes Connect (now App Store Connect). According to
one Apple document:

         Apple does not support complex bundling and tiering of subscriptions and
         subscription add-ons. Because of these limitations, partners offering
         subscription video on demand (SVOD) and multichannel video programming




121
      APL-APPSTORE_09799559.
122
      DX4024 at ‘714; PX133.
123
      DX4024 at ‘721.
124
      DX4024 at ‘726.

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         distribution (MVPD) services on other platforms cannot offer the same services
         on the App Store.125

         283. Apple requires that developers that use IAP for their in-app purchases choose
from among Apple’s pre-defined “price tiers.” They therefore do not have complete flexibility
to set their own prices. Each tier includes a fixed price for every international currency
supported by Apple. For example, Tier 1 is a price of $0.99 in U.S. dollars, 0.79 in Euros, 0.59
in British Pounds, and so on. A developer choosing to price their product or service at Apple’s
Tier 1 price must simultaneously accept the prices set by Apple in all of the available
currencies (and thus is forced to use the implied exchange rates between currencies set by
Apple). Apple can and does change the foreign currency prices in each price tier from time to
time at its own discretion and without input from developers.

                4.     Innovation

        284. Distributed innovation arises when new ideas are introduced as a result of the
interaction between several participants in the economy. Businesses have particular problems
they need to solve. They hire other businesses to help them out. Innovations come through this
iteration. And those innovations get diffused: a business seller may find that many of its
customers have a common problem and come up with a solution that serves them, and if
successful, the seller can then market the solution more broadly.

       285. Apple’s IAP requirement blocks this distributed innovation for targeted apps.
Developers subject to the IAP requirement cannot work directly with payment processors to
come up with solutions for particular ecommerce and payment processing issues they face for
iOS apps. The fact that some online payment processors work directly with Apple does not
replace this lost innovation. Those online payment processors work with a single customer,
Apple, that cannot know the unique issues that the thousands of digital content apps that must
use IAP face, and are therefore driven to develop a single templated solution.

         F.     Summary of Findings on Economic Issues Related to Tying

       286. Apple has tied together the sale of two distinct products or services. There is
separate demand for iOS app distribution services and for payment solutions for transactions
between iOS app developers and app users (pages 61-65).

        287. Apple possesses enough economic power in the tying product market, the iOS
app distribution market, to coerce its customers into purchasing the tied product. The App
Store has a monopoly in app distribution protected by substantial barriers to entry (pages 35-
39). Apple can therefore force iOS app developers to use IAP, and thereby process transactions
using Apple’s payment processing method, because those developers do not have any way
other than the App Store to distribute their apps to iPhone users. Choosing not to comply with
the IAP requirement and distribute through the App Store, and thus exiting iOS entirely, would


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      PX2142.

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be unprofitable for most developers because they would be cut off from the large installed base
of iOS users who cannot be reached through other distribution channels.

        288. The tying arrangement affects a not insubstantial volume of commerce in the
tied product market, the iOS in-app payment solutions market. The relevant antitrust market
for assessing Apple’s IAP requirement comprises solutions for accepting and processing
payments for digital content purchased within an iOS app (pages 65-69). Developers
accounting for more than              in 2019 transactions were subject to Apple’s payment
processing restrictions (pages 70-71).

        289. Absent these restrictions, many of these developers would have chosen not to
use Apple’s payment solution (pages 71-72). Those developers, likely accounting for the
preponderance of all developers and transactions subject to Apple’s requirement, were
foreclosed from providing their own customized payment solution and making use of
specialized features available from a wide array of online payment processors (pages 72-76). At
the same time, online payment processors were foreclosed from competing for those
developers’ business and from working with them to develop customized solutions (page 76).

       G.      IAP as a Metering Device

        290. Some firms tie products together for the purpose of metering sales. That enables
the firm to extract more money from customers. A classic case, from the early history of
computing, involved using punched cards to measure the consumption of computing services.
In theory, price discrimination does not necessarily reduce consumer surplus, so the use of
these metering devices to engage in this practice is not necessarily bad. And, in theory, the
profits from price discrimination may provide a reward to a firm to make investments,
including in innovation.

         291. An important assumption underlying these theories is that the metering device
does not impose any other distortions that could reduce consumer surplus. A requirement that
consumers use a simple, undifferentiated commodity product, such as a punch card, does not
likely cause distortions. The consumer could not obtain a higher quality product in the absence
of the tie. The metering device therefore is really nothing more than that—it is just a counting
method that helps the firm engage in price discrimination.

        292. Apple’s IAP payment solution, however, is far from an innocuous metering
device. Developers lose value by having to use Apple’s one-size-fits-all payment solution
rather than solutions that are differentiated and customized to their needs. Developers lose
value from being: unable to provide customer support for their own customers; unable to offer
differentiated products and services in their apps because they have to use IAP’s product and
pricing templates; and prevented from developing or enjoying innovative payment solutions for
iOS apps in concert with payment processors.

        293. There is no economic basis for allowing a firm with a monopoly in one product
to force its customers to use another product as a metering device so it can make more profits
when doing so causes substantial harm to competition and consumers.


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VIII. CONCLUDING REMARKS

        294. Apple, via the App Store, is a gatekeeper for a substantial part of the digital
economy during a time when the digital economy itself is becoming a much larger part of the
overall economy. The App Store is not just a typical platform, like Nintendo, operating as a
walled garden. It is one of two entities that controls almost all mobile app distribution for the
digital economy in the United States and the rest of the world, apart from China.

        295. Millions of apps, including many economically significant businesses, as well as
                                                                                       126
aspiring firms, must use the App Store to gain access to
They have no other channel to reach these users if Apple says no. Even the largest businesses,
such as Facebook and Microsoft, have had little luck in negotiating with Apple when it comes
to app distribution through the App Store.

        296. Thousands of iOS app developers are required to use IAP and Apple’s payment
solution for digital goods and services that they sell to customers who use their apps on
iPhones. Apple generally charges developers 30% of the value of the purchase, aside from
some exceptions that lower the average rate to about 27.7%. Apple could extend IAP, or
something similar, outside of digital goods and services, and has already made forays into apps
that provide physical services. There are no limiting principles to Apple imposing a tollbooth
between iOS app developers and their customers.

         297. When Apple launched the App Store, it said its fees would cover its costs and
that it would roughly break even. That made business sense because, by making it easy for
developers to distribute apps, and iPhone users to get them, Apple made the iPhone more
attractive, and the App Store could drive Apple’s hardware sales. Instead, operating as a
monopoly distributor of iOS apps, the App Store has earned extraordinary profits, with around
80% earned from commissions going to Apple’s bottom line.

        298. Based on the economic research and analysis reported above, I have found that,
by creating an artificial monopoly in iOS app distribution, and by tying its payment solution to
app distribution, Apple harmed competition, raised prices, reduced quality and output, and
slowed innovation—as compared to the but-for world without Apple’s restrictions. Apple’s
conduct also caused injury to iOS app developers and users.

        299. Apple did not have to block all channels of distribution, other than its own, to
create value for iPhone users and app developers. The Windows and macOS operating systems
for personal computers became enormously successful without doing so. In China, most
consumers have Android smartphones, developers have faced no material constraints on
distributing apps to them, and a vibrant app ecosystem has emerged.

      300. Any claim of lost efficiencies from ending the conduct at issue must be based on
comparing the but-for world, where Apple continues to operate the App Store and IAP, and the

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actual world with its anticompetitive conduct. It must also account for policies that Apple could
adopt to mitigate lost efficiencies, if there are any, so long as those policies are not themselves
anticompetitive. Apple could create value for iOS app users and developers by competing on
the merits without its restrictions. It could have the App Store, bundle it with the iPhone, and
operate it as it does now if that makes business sense when competition exists, so long as
distribution through the App Store is optional, thereby opening the iOS app distribution market
to competition. Apple could also continue to offer IAP, and the Apple payment solution, so
long as it does not mandate its use but instead competes with other payment solutions.

                                               ***

        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is
true and correct and that I executed this written direct testimony on April 20, 2021, in
Marblehead, Massachusetts.

WORD COUNT: 30,200




                                                     David S. Evans




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